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 1                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
 2

 3
       UNITED STATES OF AMERICA                )
 4                                             )
       vs.                                     ) Criminal Action
 5                                             )
       HERZZON SANDOVAL,                       ) No. 15-10338-FDS
 6     EDWIN GUZMAN,                           )
       CESAR MARTINEZ,                         )
 7     ERICK ARGUETA LARIOS,                   )
                          Defendants           )
 8

 9
       BEFORE:    THE HONORABLE F. DENNIS SAYLOR, IV
10

11
                                  JURY TRIAL DAY 6
12

13

14
                  John Joseph Moakley United States Courthouse
15                               Courtroom No. 2
                                1 Courthouse Way
16                              Boston, MA 02210

17                                 February 6, 2018
                                       9:00 a.m.
18

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22
                                Valerie A. O'Hara
23                           Official Court Reporter
                  John Joseph Moakley United States Courthouse
24                         1 Courthouse Way, Room 3204
                                Boston, MA 02210
25                          E-mail: vaohara@gmail.com
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 1
       APPEARANCES:
 2
       For The United States:
 3
            United States Attorney's Office, by CHRISTOPHER J. POHL,
 4     ASSISTANT UNITED STATES ATTORNEY, and KELLY BEGG LAWRENCE,
       ASSISTANT UNITED STATES ATTORNEY, 1 Courthouse Way, Suite 9200,
 5     Boston, Massachusetts 02110;

 6     For the Defendant Herzzon Sandoval:

 7          Foley Hoag LLP, by MARTIN F. MURPHY, ESQ. and
       MADELEINE K. RODRIGUEZ, ATTORNEY,
 8     155 Seaport Boulevard, Boston, Massachusetts 02210;

 9     For the Defendant Edwin Guzman:

10          Lawson & Weitzen, by SCOTT P. LOPEZ, ESQ.,
       88 Black Falcon Avenue, Suite 345, Boston, Massachusetts 02210
11
       For the Defendant Erick Argueta Larios:
12
            THOMAS J. IOVIENO, ESQ., 345 Neponset Street
13     Canton, MA 02021;

14     For the Defendant Cesar Martinez:

15          Stanley W. Norkunas, 11 Kearney Square,
       Howe Building, Suite 202, Lowell, Massachusetts 01852.
16

17          ROBERT M. SALTZMAN, ESQ., 1 Central Street, Suite 5,
       Stoneham, Massachusetts 02180.
18
       ALSO PRESENT:     Gabriel Haddad, Spanish Interpreter
19                       Carrie Lilley, Spanish Interpreter

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 1                                     I N D E X

 2     WITNESS                               DIRECT   CROSS REDIRECT RECROSS

 3     SHAWN RILEY
         By Ms. Lawrence                        8
 4       By Mr. Iovieno                                 18

 5     ROBERT IMPEMBA
         By Ms. Lawrence                       20
 6
       CARLOS RIVERA
 7       By Ms. Lawrence                       25

 8     MICHAEL CAPASSO
         By Ms. Lawrence                       36
 9
       STAR CHUNG
10       By Mr. Pohl                           46
         By Mr. Norkunas                                60
11
       DEBORAH HUACUJA
12       By Ms. Lawrence                       63                107
         By Mr. Iovieno                                 84               109
13       By Mr. Norkunas                                92
         By Ms. Rodriguez                               96
14       By Mr. Lopez                                  105               111

15     JOSE HERNANDEZ-MIGUEL
         By Mr. Pohl                           112
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           1                                   PROCEEDINGS

           2                THE CLERK:     All rise.    Thank you.   Please be seated.

           3     Court is now back in session.

           4                THE COURT:     Good morning, everyone.

           5                MR. POHL:    Good morning, your Honor.

           6                THE COURT:     What, if anything, do we have to talk

           7     about?   Mr. Iovieno.

           8                MR. IOVIENO:    Yes, your Honor, thank you, my

           9     understanding is today we're going to get into the firearm

08:32AM   10     issue, the issue I raised in my motion in limine.          My memory

          11     with the Court I'm going to object at the appropriate time that

          12     the Court was inclined to give a limiting instruction.

          13                THE COURT:     I've got my notes here.     All right.    I

          14     think this is your motion 1734, you wanted to exclude all

          15     evidence of firearm offenses, correct?

          16                MR. IOVIENO:    Yes.

          17                THE COURT:     All right.    What do you want me to, I

          18     guess what's the evidence and what do you want me to say?

          19                MS. LAWRENCE:     Yes, your Honor, we will be putting in

08:33AM   20     evidence today that various individuals who are members of this

          21     clique, the defendant's clique possessed firearms and one of

          22     the defendants as well.      The evidence will not be that firearms

          23     are a racketeering act, possession or use of, it will be simply

          24     being conducting the affairs of the enterprise guns were

          25     involved, and they used the guns to carry out those criminal
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           1     activities.

           2                THE COURT:     Okay.   What do you want me to say,

           3     Mr. Iovieno?

           4                MR. IOVIENO:    Something to the effect that firearms,

           5     possession of and perhaps dealing in firearms is not a

           6     racketeering act.     It may be admissible for some other purpose,

           7     identification for the use, but is not racketeering act.

           8                THE COURT:     Okay.

           9                MR. NORKUNAS:     Judge, I join with that if I might, my

08:34AM   10     anticipation is Mr. Muerto is going to place some sort of

          11     firearm, wasn't seen by anywhere else, wasn't acquired but he

          12     would still place a firearm in Mr. Martinez's hands at some

          13     point.

          14                THE COURT:     All right.    I would expect that the

          15     evidence I will give a cautionary instruction.          I haven't

          16     really talked to them very much about racketeering act.           Let me

          17     think about that for a moment.         I don't want to drop this out

          18     of them out of the blue, in other words, I think I want to say

          19     that proof of the crime requires, among other things, proof

08:35AM   20     that there were two or more racketeering acts, which in this

          21     case are specifically charged, does not include any firearms

          22     related crimes.     They are not charged as rear acts, in fact, no

          23     one is charged with a firearms crime.

          24                MS. LAWRENCE:     I think that would be fine, your Honor.

          25     The context, it does a little bit out of context at this point
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           1     in the trial, and we certainly wouldn't object to giving that

           2     at the end of the case to make clear that one of the

           3     racketeering acts charged is not the use or possession of

           4     firearms.    Now it seems a little as you said out of the blue to

           5     the jury but we don't really object to some kind of objection.

           6                 THE COURT:     All right.   Again, I expect that I'll

           7     admit the evidence and expect to give an instruction along

           8     those lines.

           9                 MR. IOVIENO:    Thank you, your Honor.

08:35AM   10                 THE COURT:     Anything else?   All right.   We'll start

          11     then as soon as we have our full complement of jurors, today

          12     will be a normal break day, today we start at 9:30, take one

          13     mid-morning break.

          14                 MR. POHL:    Thank you.

          15                 THE CLERK:     All rise.

          16                 ( A recess was taken.)

          17                 THE CLERK:     All rise for the jury.

          18                 (JURORS ENTERED THE COURTROOM.)

          19                 THE COURT:     Good morning, everyone.

09:10AM   20                 MR. POHL:    Good morning, your Honor.

          21                 THE COURT:     Ms. Lawrence, are you ready?

          22                 MS. LAWRENCE:     The government calls Shawn Riley.

          23                 SHAWN RILEY, having been duly sworn by the Clerk,

          24     testified as follows:

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           1                                DIRECT EXAMINATION

           2     BY MS. LAWRENCE:

           3     Q.    Good morning.    Can you please state and spell your name

           4     for the record jury, please.

           5     A.    Good morning.    My name is Shawn Riley, S-h-a-w-n,

           6     R-i-l-e-y.

           7     Q.    Where do you work?

           8     A.    I've been employed by the Massachusetts State Police since

           9     June of 2000.

09:11AM   10     Q.    What is your title?

          11     A.    I'm a trooper.

          12     Q.    And, Trooper Riley, what is your current assignment with

          13     the Massachusetts State Police?

          14     A.    I'm assigned to the state-wide gang unit.

          15     Q.    Do you have any other assignments?

          16     A.    Yes, I'm also a task force officer with the FBI

          17     North Shore Gang Task Force.

          18     Q.    Can you tell us a little bit about the North Shore Gang

          19     Task Force and what it does?

09:12AM   20     A.    It's a collaborative of different agencies, local, state,

          21     federal.     We investigate gangs and the various crimes that they

          22     commit.

          23     Q.    As part of your work with the Massachusetts State Police

          24     Gang Unit, do you also investigate gangs?

          25     A.    Yes.
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           1     Q.    Through your work with the task force and Massachusetts

           2     State Police, have you become familiar with a gang known as

           3     MS-13?

           4     A.    Yes, I have.

           5     Q.    And what is MS-13?

           6                 MR. MURPHY:    Objection, your Honor.

           7                 THE COURT:    I think we've been over this.      Sustained.

           8     Go ahead.

           9     Q.    Have you personally participated in police investigative

09:12AM   10     activities in connection with the MS-13 gang?

          11     A.    Yes, I have.

          12     Q.    What kinds of things have you done?

          13     A.    I've partaken in surveillance of gang meetings, also

          14     surveillance of controlled narcotic buys, as well as my patrol

          15     function just patrolling certain areas of the Commonwealth.

          16     Q.    I want to turn your attention to January 28, 2015.          Were

          17     you involved in an arrest on that date?

          18     A.    Yes, I was.

          19     Q.    How did you get involved?

09:13AM   20     A.    I was notified by a trooper that I work with that his

          21     informant was with an individual at a restaurant in Chelsea,

          22     Massachusetts that had a firearm on them.

          23     Q.    And what did you do when you received that information?

          24     A.    Myself and others went to that area and conducted

          25     surveillance.
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           1                MS. LAWRENCE:     Okay.   I'd like Exhibit 68 just for the

           2      witness, please.

           3      Q.    Trooper Riley, do you recognize the area shown in this

           4      photograph?

           5      A.    Yes, I do.

           6      Q.    What is it?

           7      A.    It's a depiction of a Casa Mariachi, which is a business

           8      located on Everett Avenue in Chelsea at the corner of Walnut

           9      Street.

09:14AM   10      Q.    Does the picture show the restaurant and the area in front

          11      of it as it looked on January 28, 2015?

          12      A.    No, it does not.

          13      Q.    How is it different?

          14      A.    There was a lot of snow.

          15      Q.    And apart from the lack of snow in this photograph, does

          16      it accurately represent the business and the sidewalk street

          17      area around it?

          18      A.    Yes, it does.

          19                MS. LAWRENCE:     Your Honor, at this time I move to

09:14AM   20      admit Exhibit 68 in evidence.

          21                THE COURT:     It's admitted, Exhibit 68.

          22                (Exhibit No. 68 received into evidence.)

          23      Q.    Trooper Riley, using this photograph, and if you'd like to

          24      draw on the screen with your finger, you can, can you describe

          25      what happened when you arrived at this location on January 28,
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           1      2015?

           2      A.      We were conducting surveillance of that restaurant, and an

           3      individual who we believed was the person that we were

           4      surveilling stepped out of the restaurant and walked to this

           5      area over here on the side of building, which is on Walnut

           6      Street.

           7      Q.      And the person that you were surveilling that day, do you

           8      see that individual in the courtroom today?

           9      A.      Yes, I do.

09:15AM   10      Q.      Can you please point him out for the jury.

          11      A.      The gentleman sitting in the middle table right there.

          12      Q.      Can you describe what he's wearing, please?

          13      A.      A blue sports coat with a white shirt.

          14      Q.      Okay.   Thank you.   So you saw the individual walk around

          15      the corner toward Walnut Street.       What happened next?

          16      A.      Myself and Trooper Christopher St. Ives decided to

          17      approach the individual.      I pulled my cruiser down Walnut

          18      Street and exited my cruiser and approached the individual from

          19      the Walnut Street side in this area over here, and

09:16AM   20      Trooper St. Ives came in this area here, so we started having a

          21      conversation with him on the sidewalk on the side of the

          22      restaurant.

          23      Q.      What did you say to him?

          24      A.      Initially just identified myself.     Because we're dressed

          25      in plain clothes, I didn't want to -- in my past experience, I
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           1      didn't want to alarm the person, so I identified myself, I

           2      said, "State Police, can I talk to you for a minute?"             And my

           3      badge was shown and when we started talking to the individual,

           4      just having casual conversation, I eventually asked him, I

           5      said, "Hey, do you happen to have a weapon on you?"

           6      Q.    And what did he do when you asked him that?

           7      A.    He started to look around and he backed up towards the

           8      restaurant.

           9      Q.    Did you do anything in response to his actions?

09:16AM   10      A.    I did.

          11      Q.    What was that?

          12      A.    I was standing, which would have been to his left, my

          13      right, I immediately grabbed his left hand, and

          14      Trooper St. Ives grabbed his right hand.

          15      Q.    Did you do anything after that?

          16      A.    I did.

          17      Q.    What was it?

          18      A.    While we had control of his hands, with my left hand, I

          19      reached around his waistband from the front patting him down.

09:17AM   20      Q.    Did you feel anything during the pat frisk?

          21      A.    I did.

          22      Q.    What?

          23                MR. NORKUNAS:     Objection, your Honor.

          24                THE COURT:    Overruled.

          25      A.    I felt what, in my experience, has taught me to be the
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           1      butt of a handgun.

           2      Q.    And when you felt what you thought to be the butt of the

           3      handgun, what did you do?

           4      A.    I notified Trooper St. Ives of what I thought was a

           5      handgun on his hip, and Trooper St. Ives reached in and pulled

           6      out a handgun that was on the individual's right hip.

           7      Q.    And where did he put that gun when he took it from the

           8      individual?

           9      A.    He put it in his pocket.      Trooper St. Ives put it in his

09:17AM   10      pocket.

          11      Q.    So you're holding onto the individual.        You've taken a gun

          12      from his waistband.     What happened next?

          13      A.    I looked right at him, I said, "Hey, do you have a license

          14      for this gun?"    And he said, "No."

          15      Q.    And what did you do?

          16      A.    At that point, we placed him in handcuffs and told him

          17      that he was under arrest for possession of handgun.

          18      Q.    Did you leave with him at that point, or what did you do

          19      with him?

09:18AM   20      A.    Yes, eventually we transported him to the State Police

          21      Barracks in Revere where he was booked.

          22      Q.    And what happened to the handgun?

          23      A.    It was placed into evidence.

          24      Q.    Okay.   And while you were booking this individual, did you

          25      learn his name?
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           1      A.    We did, yes.

           2      Q.    What was his name?

           3      A.    Erick Argueta.

           4                   MS. LAWRENCE:   For the witness, please.

           5      Q.    I'm showing you what's been marked as Exhibit 5.            Do you

           6      recognize the person in this photograph?

           7      A.    Yes.

           8      Q.    Who is it?

           9      A.    Mr. Argueta.

09:18AM   10      Q.    The person you arrested?

          11      A.    Yes.

          12      Q.    With the gun?

          13                   MS. LAWRENCE:   Okay.     Next, I'm showing just for the

          14      witness, please, Exhibit 19.

          15      Q.    Do you recognize the man in this photograph?

          16      A.    Yes.

          17      Q.    And who is it?

          18      A.    Again, Mr. Argueta.

          19      Q.    What are those hand gestures that he is making in this

09:19AM   20      photograph?

          21                   MR. NORKUNAS:   Objection, your Honor.     Foundation.

          22                   THE COURT:   Sustained.

          23      Q.    Do you know Mr. Argueta by another name?

          24      A.    Yes.

          25      Q.    What is that?
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           1                   MR. NORKUNAS:     Objection, your Honor.

           2                   THE COURT:     Again, you'll have to lay a foundation.

           3      Sustained.

           4      Q.    Did you -- when you arrested Mr. Argueta and booked him at

           5      the police station --

           6      A.    Yes.

           7      Q.    -- did you observe anything about his physical appearance?

           8      A.    Yes.

           9      Q.    What was that?

09:19AM   10      A.    He had several tattoos on his body.

          11      Q.    Can you describe, if you remember, what those look like,

          12      or any one of them?

          13      A.    I'd have to see them.

          14                   MS. LAWRENCE:     Your Honor, I move Exhibits 5 and 19

          15      into evidence at this time.

          16                   THE COURT:     What are 5 and 19?

          17                   MS. LAWRENCE:     The photographs the trooper just --

          18                   MR. NORKUNAS:     Objection.

          19                   MS. LAWRENCE:     Trooper Riley just identified.

09:20AM   20                   THE COURT:     The two photographs?

          21                   MS. LAWRENCE:     Two photographs.

          22                   MR. IOVIENO:    My objection is to the second

          23      photograph.

          24                   MS. LAWRENCE:     He identified the individual, your

          25      Honor, in the second photograph.
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           1                   THE COURT:   Overruled.   5 and 19 are admitted.

           2                   (Exhibit Nos. 5 and 19 received into evidence.)

           3      Q.    Back to the gun that you took from Mr. Argueta, you said

           4      you placed it into evidence?

           5      A.    Yes.

           6                   MS. LAWRENCE:   Permission to approach the witness,

           7      your Honor.

           8                   THE COURT:   Yes.

           9                   While we're doing is that, let me give the jury an

09:20AM   10      instruction.     Again, all four defendants are charged with

          11      racketeering conspiracy, which I'll define for you at the end

          12      of the case.     Two others are also charged with drug conspiracy,

          13      which I'll also define.

          14                   To prove a racketeering conspiracy, the government has

          15      to prove beyond a reasonable doubt a number of those things.

          16      One of those things is that the defendant in question agreed to

          17      or intended that one or more members of the racketeering

          18      enterprise would commit two or more racketeering acts.

          19                   Basically, and in summary form, racketeering acts are

09:21AM   20      crimes, certain defined crimes under federal and state law.

          21      The indictment here charges specific racketeering acts, it

          22      charges specific murders, attempted murders, drug trafficking,

          23      and so on.     It does not charge any firearms crimes as

          24      racketeering acts.

          25                   There are different types of firearm crimes.         For
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           1      example, possession of a firearm without a license is a crime,

           2      but that crime is not charged in the indictment, either by

           3      itself or as part of the racketeering conspiracy.

           4                I'm permit you to hear this evidence for whatever

           5      weight you choose to give it in terms of the overall proof of

           6      the racketeering enterprise, but just to be clear, this

           7      defendant is not charged with a firearms crime, and no firearm

           8      crime is charged as a racketeering act.

           9                All right, Ms. Lawrence.

09:22AM   10                MS. LAWRENCE:     Thank you, your Honor.

          11      Q.    Trooper Riley, showing you what's been marked as

          12      Exhibit 69, do you recognize this?

          13      A.    I do.

          14      Q.    And what is it, please?

          15      A.    It is a Ruger 9 millimeter handgun, and it's the handgun

          16      that was taken off of Mr. Argueta.

          17                MS. LAWRENCE:     Thank you.     Permission to publish to

          18      the jury, your Honor?

          19                THE COURT:     Well, it has to be admitted first.

09:22AM   20                MS. LAWRENCE:     I'm sorry.     Move to admit Exhibit 69.

          21                MR. IOVIENO:    Same objection, your Honor.

          22                THE COURT:     Overruled.     It's admitted.

          23                (Exhibit No. 69 received into evidence.)

          24                MS. LAWRENCE:     No further questions, your Honor.

          25                THE COURT:     Mr. Iovieno.
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           1                                 CROSS-EXAMINATION

           2      BY MR. IOVIENO:

           3      Q.    Good morning, Trooper Riley.

           4      A.    Good morning, sir.

           5      Q.    My name is Thomas Iovieno.      I represent Mr. Larios.     You

           6      testified that you were provided information that led you to

           7      this area?

           8      A.    Yes, sir.

           9      Q.    And that information was provided to you by another

09:23AM   10      trooper?

          11      A.    Yes, sir.

          12      Q.    And he indicated that the -- there was a confidential

          13      informant inside the restaurant with Mr. Larios?

          14      A.    Yes, sir.

          15      Q.    And he reported that Mr. Larios had a firearm?

          16      A.    Yes, sir.

          17      Q.    And that confidential informant, do you know he was

          18      identified as confidential informant CW-1?         Do you know that?

          19      A.    I believe so.    Yes, sir.

09:23AM   20      Q.    And he's known as Pelon?

          21      A.    Yes, sir.

          22      Q.    And you're familiar with that name, correct?

          23      A.    Yes, sir.

          24      Q.    And did the trooper tell you that Pelon had given the

          25      firearm to Mr. Larios?
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           1                MS. LAWRENCE:     Objection, your Honor.

           2                THE COURT:     Sustained.

           3      Q.    In any event, you recovered the firearm from Mr. Larios,

           4      and is it fair to say that the firearm was -- did not contain

           5      any ammunition?

           6      A.    Yes, sir.   It did not.

           7      Q.    No bullets in the chamber, nor was there a magazine inside

           8      the firearm, correct?

           9      A.    That is correct, sir.

09:24AM   10      Q.    And you subsequently charged Mr. Larios with possession of

          11      a firearm in the Chelsea District Court?

          12      A.    I believe so.    Yes, sir.

          13      Q.    And that case was dismissed?

          14      A.    I don't know the disposition.

          15                MR. IOVIENO:    All right.     Thank you.    No further

          16      questions.

          17                THE COURT:     Anything else?

          18                MR. NORKUNAS:     No, your Honor.

          19                THE COURT:     Any redirect?

09:24AM   20                MS. LAWRENCE:     No redirect, your Honor.

          21                THE COURT:     All right.    Thank you.     You may step down.

          22                THE WITNESS:    Thank you, your Honor.

          23                THE COURT:     Ms. Lawrence.

          24                MS. LAWRENCE:     The government calls Carlos Rivera.

          25                Your Honor, I'd like to take a witness out of order if
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           1      it's okay.    We're going to call instead Robert Impemba.

           2                ROBERT IMPEMBA, having been duly sworn by the Clerk,

           3      testified as follows:

           4                                DIRECT EXAMINATION

           5      BY MS. LAWRENCE:

           6      Q.    Good morning.

           7      A.    Good morning.

           8      Q.    Can you please state and spell your name for the jury,

           9      please.

09:25AM   10      A.    Yes, Robert Impeba, I-m-p-e-m-b-a.

          11      Q.    Where do you work?

          12      A.    I'm employed by the City of Revere, the Revere Police

          13      Department.

          14      Q.    What is your title?

          15      A.    I'm a sergeant detective responsible for the supervision

          16      of the narcotics in the gang unit.

          17      Q.    Sergeant Detective Impemba, how long have you worked with

          18      the Revere Police Department?

          19      A.    I'm in my 13th year.

09:26AM   20      Q.    And what kind of work do you do as part of the narcotics

          21      and gang unit?

          22      A.    On the narcotics end, we do a lot of street level

          23      narcotics, distribution monitoring, prepare search warrants,

          24      undercover buys, confidential informant buys.         On the gang

          25      side, we typically conduct FIOs, identify any impact players in
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           1      our neighborhoods and try to disrupt any street level gang

           2      activity or youth violence.

           3      Q.    Do you have any other assignments outside the Revere

           4      Police Department?

           5      A.    No.   I'm assigned to the -- I'm sorry, I do.        I'm assigned

           6      to the FBI North Shore Gang Task Force as part of my

           7      responsibilities with the Revere Police Department.

           8      Q.    And as part of your work with the North Shore Gang Task

           9      Force or the Revere Police Department, are you familiar with a

09:26AM   10      street gang called MS-13?

          11      A.    Yes, I am.

          12      Q.    And have you personally participated in investigative

          13      activities related to MS-13?

          14      A.    Yes, I have.

          15      Q.    What kinds of things have you done in connection with that

          16      investigation?

          17      A.    We've assisted in controlled narcotics purchases,

          18      surveillance, search warrants, that type of stuff.

          19      Q.    I'm going to turn your attention to May 20, 2016.           Did you

09:27AM   20      participate in the execution of a search warrant on that day?

          21      A.    May 20, 2016 was a consent search.       Yes.

          22      Q.    And how did you get involved in that search?

          23      A.    I was notified by one of the agents on my task force that

          24      he had a location in Revere that he wanted to go to after

          25      receiving information to search a certain area.
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           1      Q.    Do you remember the address of the location?

           2      A.    I do, it was 538-540 Beach Street in Revere.

           3      Q.    Was that address significant to you?

           4      A.    Yes.

           5      Q.    Why?

           6      A.    During a series of arrests that we made relevant to an

           7      investigation, it was one of the target locations.

           8      Q.    Okay.   Do you know who lived there?

           9      A.    I do.

09:27AM   10      Q.    Who was that?

          11      A.    It was an individual identified as Jose Hernandez-Miguel.

          12      Q.    Do you know him by other name?

          13      A.    I do, Muerto.

          14      Q.    And after you got the call telling you that you wanted to

          15      search that location, what did you do?

          16      A.    I met the agents along with a couple of Mass. State Police

          17      troopers assigned to my task force at that location.

          18      Q.    And did you search that location?

          19      A.    Yes, I was involved in the search of the basement area of

09:28AM   20      that location.

          21      Q.    And I believe you said earlier you had consent to search?

          22      A.    Yes, the agents assigned to my task force received consent

          23      prior to responding to that address, and I believe they had the

          24      building manager fill out a consent form.

          25      Q.    And can you describe the search, please, and what you did?
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           1      A.      Basically, we responded directly to the common area

           2      basement on the bottom level, ground level of 538-540

           3      Beach Street, and I had a very specific location that we were

           4      directing our attention towards.       It was under a set of stairs

           5      leading into the basement.

           6      Q.      And did you find anything there?

           7      A.      Yes, we did.

           8      Q.      What was that?

           9      A.      We found a silver, grayish-type cooler bag almost, if you

09:29AM   10      will, that contained a semiautomatic firearm and numerous

          11      rounds of ammunition.

          12      Q.      What did you do with that, those items after you found

          13      them?

          14      A.      Those items were taken into our possession, brought back

          15      to the Revere police station and then turned over to the Mass.

          16      State Police.

          17                  MS. LAWRENCE:    Permission to approach?

          18                  MR. IOVIENO:    Judge, for the record, could we have a

          19      continuing objection to this line?

09:29AM   20                  THE COURT:     Yes.

          21      Q.      Sergeant Detective Impemba, I'm showing you what's been

          22      marked as Exhibit 51.       Do you recognize this?

          23      A.      Yes, I do.

          24      Q.      What is it?

          25      A.      This is the semiautomatic firearm that we located under
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 24 of 141
                                                                                         6-24




           1      the basement stairs of 538-540 Beach Street.

           2      Q.    And I'm showing you what's been marked as Exhibit 52.

           3      A.    Yes.

           4      Q.    53 and 54.    What are these items, if you know?

           5      A.    These are two boxes of 9 millimeter ammunition that were

           6      located inside the bag, as well as a plastic bag containing

           7      several round of .45 caliber ammunition.

           8                   MS. LAWRENCE:     Your Honor, I move to admit Exhibit 51,

           9      52, 53 and 54 into evidence.

09:30AM   10                   THE COURT:     All right.    They're admitted.

          11                   (Exhibit Nos. 51, 52, 53 and 54 received into

          12      evidence.)

          13                   MS. LAWRENCE:     Permission to publish?

          14                   THE COURT:     Yes.

          15                   MS. LAWRENCE:     No further questions.

          16                   THE COURT:     All right.    Cross-examination.

          17                   MR. IOVIENO:    No questions, your Honor.

          18                   MR. NORKUNAS:     No.

          19                   THE COURT:     Okay.    All right.   You may step down.

09:31AM   20      Thank you.

          21                   Ms. Lawrence.

          22                   MS. LAWRENCE:     Your Honor, the government would call

          23      Carlos Rivera.

          24                   CARLOS RIVERA, having been duly sworn by the Clerk,

          25      testified as follows:
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                                                                                    6-25




           1                                DIRECT EXAMINATION

           2      BY MS. LAWRENCE:

           3      Q.    Good morning.

           4      A.    Good morning.

           5      Q.    Can you please state and spell your name for the jury.

           6      A.    Carlos Rivera, R-i-v-e-r-a.

           7      Q.    Where are you employed?

           8      A.    I'm employed with the Massachusetts State Police.

           9      Q.    What's your title there?

09:32AM   10      A.    I'm a trooper assigned to the Violent Fugitive

          11      Apprehension Task Force.

          12      Q.    Trooper Rivera, can you explain what the Violent Fugitive

          13      Apprehension Task Force is?

          14      A.    We basically look for individuals wanted on violent felony

          15      warrants in and out of Massachusetts.

          16      Q.    Turning your attention to September 16, 2016, did you

          17      arrest a fugitive on that day?

          18      A.    Yes, I did.

          19      Q.    How did you get involved?

09:32AM   20      A.    I'm sorry, ma'am.

          21      Q.    How did you get involved?

          22      A.    I received information from one of my counterparts in the

          23      Boston area about an investigation he was helping the State

          24      Police and FBI gang unit and led information of possible

          25      subject associated with the wanted person out in the Pittsfield
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 26 of 141
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           1      area.

           2      Q.      And wanted person is -- can you explain what a wanted

           3      person is?

           4      A.      He was warranted on a federal warrant for a RICO

           5      conspiracy along with other charges.

           6      Q.      Do you remember the individual's name?

           7      A.      Efrain Vasques-Yanes.

           8      Q.      Okay.   When you learned information -- when you got the

           9      information that Mr. Vasques-Yanes might be located in the

09:33AM   10      Pittsfield area, what did you do?

          11      A.      I basically advised the task force members of the

          12      information we assembled.       I gathered some more information of

          13      my own and we basically went to the address to try and attempt

          14      to locate the subject.

          15      Q.      What did you do when you arrived at the address?

          16      A.      We basically showed the photo of the possible subject in

          17      case we encountered someone in or around the house.          We

          18      basically did a perimeter around the house to make sure the

          19      person didn't escape if he decided to see police, and we

09:34AM   20      confirmed the address as a person of interest that he was

          21      associated with living at the house.

          22      Q.      Do you remember what that address was?

          23      A.      It was 226 Bradford Street in Pittsfield.

          24      Q.      Okay.   So after you secured the perimeter, what did you

          25      do?
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 27 of 141
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           1      A.    We entered the -- it's a two-sided duplex.         We found the

           2      226, looked at the mailbox, and saw the name associated with

           3      Vasques-Yanes and at that point decided to knock at the door.

           4      Q.    Did anyone answer?

           5      A.    Yes.

           6      Q.    What happened then?

           7      A.    There was a male that answered the door after a few

           8      minutes, broken English.      I asked what the name was in English,

           9      and he gave his last name as being Flores and was a little

09:35AM   10      hesitant to give me his first name.        I saw he might have been a

          11      little hesitant because of the language barrier, so I asked him

          12      again in Spanish what the last name of the residence was.

          13      Q.    So you speak Spanish?

          14      A.    Yes, I do.

          15      Q.    Did you continue the conversation with him in Spanish?

          16      A.    Yes, I did.

          17      Q.    And what did you say to him next?

          18      A.    I advised I was looking for Ms. Yasmin Hernandez, which

          19      was a person associated with the target.        He stated that she

09:35AM   20      did live at the house and was unsure if she was inside the

          21      apartment or not.

          22      Q.    So what did you do next?

          23      A.    We asked to come in and talk to him and possibly talk to

          24      Yasmin if she was there.      We basically entered, and then at

          25      that point he started becoming elusive in regards to his
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 28 of 141
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           1      answers when we're asking if she was upstairs, if she was in

           2      the house.    At that point, we basically started getting a

           3      little suspicious.

           4      Q.      And based on your suspicions, what did you do?

           5      A.      We advised him that we were going to make sure that Yasmin

           6      was inside the house, do a protective sweep, and see if anyone

           7      else -- he also did advise that he did have a brother that was

           8      sleeping upstairs possibly on the third floor.

           9      Q.      So did you conduct that protective sweep of the house?

09:36AM   10      A.      The other officers did conduct a protective sweep as I

          11      continued talking to Mr. Flores, and as I started talking to

          12      him, I noticed some markings on his sleeve like a tattoo.         I

          13      started asking, you know, what the tattoo was, and he started

          14      covering up his arms as he couldn't produce any proper

          15      identification when we asked him his actual name.

          16      Q.      And his actions, what did his actions cause you to do

          17      next?

          18                  MR. MURPHY:    Objection, your Honor.

          19                  THE COURT:    Overruled.

09:36AM   20                  MR. MURPHY:    Just relevance.

          21                  THE COURT:    Okay.   Overruled.

          22                  MR. MURPHY:    Thank you.

          23      A.      It was a little suspicious, because of the fact we were

          24      looking for someone that was wanted on gang activity charges

          25      from the Boston area, and in my experience, the way he was
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           1      answering my questions was being a little elusive, so for my

           2      safety and the protection of the other officers that were

           3      inside, I decided to place him in handcuffs just for -- until

           4      we identified who he actually was.

           5      Q.    And did you learn any information from the officers

           6      who -- actually, let me ask you this.        Can you describe what a

           7      protective sweep is?

           8      A.    Protective sweep is just looking inside the house to make

           9      sure no one else is hiding in any location.         That's for our

09:37AM   10      safety.

          11      Q.    And you said, while you were speaking with this

          12      individual, other officers were conducting the protective

          13      sweep?

          14      A.    Yes, ma'am.

          15      Q.    Did they find anyone or anything?

          16      A.    Yes, as I was talking to the gentleman on the first floor,

          17      they advised that they had seen a gentleman on the third floor

          18      peek down the stairs and then go out of view still on the third

          19      floor walking around.

09:37AM   20      Q.    So what did you do with that information?

          21      A.    At that point, the gentleman on the first floor was

          22      already secured in handcuffs, trying to get his identity.         The

          23      officers upstairs were trying to call the individual down to,

          24      you know, make sure that they knew who he was and go from

          25      there.
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 30 of 141
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           1      Q.    Did you speak with that individual eventually?

           2      A.    Eventually, yes.    Once the individual came down, they

           3      secured him in handcuffs to make sure and then walked him

           4      downstairs and he had given a different name from the person we

           5      were looking for.

           6      Q.    Trooper Rivera --

           7                MS. LAWRENCE:     This is for the witness only, please.

           8      Q.    I'm showing you what has been marked as Exhibit 11.         Do

           9      you recognize the person in this photo?

09:38AM   10      A.    Yes, ma'am.

          11      Q.    Who is he?

          12      A.    That's the subject, Efrain Vasques-Yanes that we were

          13      looking for.

          14      Q.    And did you recognize him when he was brought downstairs?

          15      A.    I did.   I asked him what his name was.       He gave me the

          16      alias name.    I believe the last name was Hernandez, and at that

          17      point I turned the photo to him, and I said, "Who's this?"           At

          18      that point, he -

          19      Q.    I'm sorry, excuse me, what was on the phone -- the photo,

09:39AM   20      sorry.

          21      A.    The photo I had on my paperwork, I flipped it over to him,

          22      and I asked him, "Who is this?"       At that point, he smiled, And

          23      he basically says, "Okay, you got me," and then he stated his

          24      name was Efrain Vasques-Yanes.

          25                MS. LAWRENCE:     Your Honor, I'd move to admit
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 31 of 141
                                                                                      6-31




           1      Exhibit 11 into evidence.

           2                 MR. MURPHY:    Objection, relevance, your Honor.

           3                 THE COURT:    Overruled.   It's admitted, Exhibit 11.

           4                 (Exhibit No. 11 received into evidence.)

           5      Q.     So you mentioned that you had Mr. Vasques-Yanes in

           6      handcuffs?

           7      A.     Correct.

           8      Q.     At that point.    Did you find anything else during the

           9      protective sweep?

09:39AM   10      A.     The two gentlemen were downstairs.      There seemed to be

          11      more rooms that were in the house.       It's a three-level duplex.

          12      So as they stayed downstairs, I continued assisting the

          13      officers upstairs, and it appeared that on the third deck where

          14      the subject was hiding or at least located, there seemed to be

          15      things out of place that looked like he was attempting to hide

          16      something.

          17      Q.     Did you see anything in particular that was suspicious to

          18      you?

          19      A.     There was a bright green sweater that was folded in a

09:40AM   20      manner consistent and very quickly as to try to conceal

          21      something from our view.

          22      Q.     Okay.   And did you take that item or look at it more

          23      closely at that time?

          24      A.     I did not.   We had information from the officers and

          25      detectives out here that he was known to carry and was supposed
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 32 of 141
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           1      to be carrying a firearm with him at all times due to the

           2      propensity of violence and the threats that he has been getting

           3      and giving.

           4      Q.    So what did you do?

           5      A.    We at that point decided to secure the apartment or the

           6      duplex.    I contacted the attorneys and the FBI investigators

           7      involved in this area.      I advised them what we had, and we

           8      basically waited for a search warrant.

           9      Q.    Did you eventually get a search warrant?

09:41AM   10      A.    Yes, we did.

          11      Q.    Did you execute that search warrant?

          12      A.    Yes, we did.

          13      Q.    Did you find anything when you executed the search

          14      warrant?

          15      A.    Yes, ma'am.

          16      Q.    What did you find?

          17      A.    We actually were able to find a firearm that was inside

          18      that bright green sweatshirt along with a lot of ammunition,

          19      along with false documents of the name that he had given to

09:41AM   20      police officers, some knives and a machete.

          21                 MS. LAWRENCE:    Permission to approach the witness,

          22      your Honor.

          23                 THE COURT:   Yes.

          24      Q.    Trooper Rivera, I'm showing you what has been marked as

          25      Exhibit 82.1.    Do you recognize this?
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 33 of 141
                                                                                     6-33




           1      A.    I do.

           2      Q.    What is it?

           3      A.    That is basically a black semiautomatic handgun that we

           4      located that day.

           5      Q.    Okay.   Where was it located when you recovered it?

           6      A.    That was inside the bright green sweatshirt.

           7      Q.    Okay.   I'm also showing what has been marked as Exhibits

           8      82.3 and 82.2.    Do you recognize these?

           9      A.    That is the clip that was inside and these are the rounds

09:42AM   10      that's marked as .45 caliber rounds that were inside the

          11      magazine.

          12      Q.    Okay.   All wrapped up in the sweatshirt?

          13      A.    Yes, ma'am.

          14                  MS. LAWRENCE:    I move to admit Exhibit 82.1, .2 and .3

          15      into evidence.

          16                  MR. MURPHY:     Your Honor, may we have a continuing

          17      objection on relevance to the --

          18                  THE COURT:    Yes.

          19                  MR. MURPHY:     Thank you.

09:43AM   20                  THE COURT:    Overruled.     82.1, 82.2, 82.3 are admitted.

          21                  (Exhibit Nos. 82.1, 82.2 and 82.3 received into

          22      evidence.)

          23                  MS. LAWRENCE:    Permission to publish?

          24                  THE COURT:    Yes.

          25      Q.    I'm showing you now what's been marked as Exhibit 83.1.
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 34 of 141
                                                                                    6-34




           1      A.    Yes, ma'am.

           2      Q.    84?

           3      A.    Yes, ma'am.

           4      Q.    And 86.

           5      A.    Yes, ma'am.

           6      Q.    Okay.   Do you recognize these items?

           7      A.    I do.   Those are items that were seized with the firearm.

           8      It's basically ammunition for the .45 that we took into

           9      evidence.

09:44AM   10      Q.    Is this chewing gum?

          11      A.    It is not chewing gum.     It's pretty much a deception to

          12      make believe it's chewing gum, but there's actually rounds

          13      inside.

          14      Q.    And were these wrapped up in the sweatshirt or found

          15      somewhere else?

          16      A.    I believe everything was with the firearm and sweatshirt.

          17                  MS. LAWRENCE:   Your Honor, I move to admit

          18      Exhibit 83.1, 84, and 86 into evidence.

          19                  THE COURT:   They're admitted, 83.1, 84, and 86.

          20                  (Exhibit Nos. 83.1, 84, and 86 received into

          21      evidence.)

          22      Q.    Trooper Rivera, showing you what's been marked as

          23      Exhibit 87, do you recognize this item?

          24      A.    Yes, ma'am.

          25      Q.    What is that?
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 35 of 141
                                                                                       6-35




           1      A.    That is a butterfly knife that was located inside the

           2      apartment.

           3      Q.    And by butterfly, what do you mean?

           4      A.    It easily opens in a fashion that would make it look very

           5      flashy.

           6      Q.    And where did you find this, if you remember?

           7      A.    I believe it was on the third floor.

           8      Q.    Okay.

           9                MS. LAWRENCE:     Your Honor, I'd move to admit Exhibit

09:45AM   10      87 into evidence.

          11                THE COURT:    All right.    It's admitted, 87.

          12                (Exhibit No. 87 received into evidence.)

          13      Q.    I'm showing you what's been marked as Exhibit 85.           Do you

          14      recognize this?

          15      A.    I do.

          16      Q.    And what is it?

          17      A.    That is a machete.

          18      Q.    And where did you find this?

          19      A.    That was located downstairs, I believe, in a closet on the

09:46AM   20      first floor.

          21                MS. LAWRENCE:     Okay.    Your Honor, I'd move to admit

          22      Exhibit 85 into evidence.

          23                THE COURT:    All right.    It's admitted.     85.

          24                (Exhibit No. 85 received into evidence.)

          25      Q.    Trooper Rivera, do you know Mr. Efrain Yanes-Vasques by
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 36 of 141
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           1      another name?

           2      A.    Just the name that he had given officers.        I don't recall

           3      the actual first name, but I know the last name was Hernandez.

           4      I'd have to refer to my report to get the exact.

           5                MS. LAWRENCE:     No further questions for this witness,

           6      your Honor.

           7                THE COURT:     Cross?

           8                MR. IOVIENO:    Nothing, your Honor.

           9                MR. NORKUNAS:     No.

09:46AM   10                THE COURT:     Okay.    Thank you.   You may step down.

          11                THE WITNESS:    Thank you, sir.

          12                MS. LAWRENCE:     The government calls Michael Capasso.

          13                MICHAEL CAPASSO, having been duly sworn by the Clerk,

          14      testified as follows:

          15                THE WITNESS:    Good morning, your Honor.

          16                                DIRECT EXAMINATION

          17      BY MS. LAWRENCE:

          18      Q.    Good morning.

          19      A.    Good morning.

09:47AM   20      Q.    Could you please say and spell your name for the jury?

          21      A.    My name is Michael Capasso.      And did you say spell it?

          22      Q.    Just the last name.

          23      A.    C-a-p-a-s-s-o.

          24      Q.    And where do you work?

          25      A.    Somerville Police Department.
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           1      Q.      Do you have a title?

           2      A.      I do.

           3      Q.      What is it?

           4      A.      Detective sergeant.

           5      Q.      How long have you worked for the Somerville Police

           6      Department?

           7      A.      Ten years.

           8      Q.      And what is your current assignment?

           9      A.      My current assignment is the gang unit supervisor.

09:48AM   10      Q.      Have you held other assignments with the Somerville Police

          11      Department?

          12      A.      I have.

          13      Q.      And what are those?

          14      A.      Patrol officer and narcotics detective.

          15      Q.      Focusing on January 2015, what kind of police work were

          16      you doing at that time?

          17      A.      I was assigned to the patrol unit.

          18      Q.      And what kinds of activities did you do with the patrol

          19      unit?

09:48AM   20      A.      That was a uniformed division, so I would answer any calls

          21      that came into the 9-1-1 center, whether they be emergency or

          22      just calls for service.

          23      Q.      Were you working on the night of January 1, 2015?

          24      A.      I was.

          25      Q.      Did you take a call that night?
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                                                                                    6-38




           1      A.    Yes.

           2      Q.    And where did you go?

           3      A.    7 Cross Street.

           4      Q.    And why did you go to 7 Cross Street?

           5      A.    We received an unknown trouble 9-1-1 call.

           6      Q.    Okay.   What did you do when you responded to

           7      7 Cross Street?

           8      A.    We went to the -- the house that we went to was a third --

           9      apartment number 3.     We entered the house with -- I entered the

09:49AM   10      house with two of my fellow police officers.

          11      Q.    And what did you do when you arrived at the third floor

          12      apartment?

          13      A.    When I entered the house, I observed a Hispanic male

          14      sitting on the couch who was pointing to a bedroom door.

          15      Q.    Did you talk to him?

          16      A.    I did not, no.

          17      Q.    Did anyone else talk to him?

          18      A.    Yes, one of my colleagues.

          19      Q.    Did they say anything?

09:49AM   20      A.    They did have a conversation, which we later discovered.

          21      Would you like me to --

          22      Q.    No, no.    You said he was pointing at a door?

          23      A.    Correct.

          24      Q.    And what did you do when you saw him pointing at the door?

          25      A.    I knocked on the door.
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           1      Q.    What happened?

           2      A.    After a brief delay, I heard the door lock.

           3      Q.    Did anyone speak on the other side of the door?

           4      A.    No.

           5      Q.    You heard the door lock.      What did you do next?

           6      A.    As soon as I heard the door lock, I heard somebody running

           7      away from the door.     At that point, I announced to my partner

           8      that I was going to force open the door due to the fact that we

           9      were there for unknown trouble, and I did not know what was

09:50AM   10      going on behind that now locked door.

          11      Q.    Did you force the door open?

          12      A.    No, I did not.

          13      Q.    Why?

          14      A.    Because as I was about to force the door, a female opened

          15      the door ever so slightly with just enough room that her head

          16      popped out.

          17      Q.    Did you speak to her?

          18      A.    No, one of my colleagues did.

          19      Q.    Why didn't you talk to her?

09:50AM   20      A.    She did not speak English, and I don't have any bilingual

          21      skills.

          22      Q.    And your colleague did speak Spanish?

          23      A.    Yes, he's now Lieutenant Jaliveira (ph.), he spoke to her

          24      in Spanish.

          25      Q.    Okay.   After he spoke to her, what happened?
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           1      A.    We entered the bedroom to do a protective sweep.            Again,

           2      based on the unknown trouble call, we needed to make sure that

           3      nobody was in there that needed any medical assistance or was

           4      injured.

           5      Q.    And when you entered the bedroom, what did you see?

           6                   MR. MURPHY:    Objection.    Relevance.   And may we have a

           7      continuing objection?

           8                   THE COURT:    Overruled.    And, yes, you may have a

           9      continuing objection.

09:51AM   10                   MR. MURPHY:    Thank you, your Honor.

          11      Q.    When you entered the bedroom, what did you see, Sergeant

          12      Detective Capasso?

          13      A.    On the right-hand side of the room, I saw a bed with an

          14      infant crying, and I saw behind the bed was a walk-in closet

          15      with the lights on with no door, and on the left-hand side, I

          16      saw an opened window with a blanket blowing due to the frigid

          17      cold and the wind blowing the blanket open.

          18      Q.    Were there any other individuals in the room besides the

          19      baby and the woman who let you in?

09:51AM   20      A.    Yes, there was.

          21      Q.    Who?

          22      A.    Jose Andrade.

          23      Q.    Where was he located?

          24      A.    Jose was directly across from the window laying kind of

          25      sideways with his feet on the ground and his upper torso on the
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 41 of 141
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           1      bed itself near the baby.

           2                  MS. LAWRENCE:   Could I have Exhibit 14 for the

           3      witness, please.

           4      Q.    Sergeant Detective Capasso, do you recognize the person in

           5      this photograph?

           6      A.    Yes, I do.

           7      Q.    And who is it?

           8      A.    That would be Mr. Andrade.

           9      Q.    The person you said was in the bedroom that evening?

09:52AM   10      A.    Correct.

          11                  MS. LAWRENCE:   I move to admit Exhibit 14 into

          12      evidence, your Honor.

          13                  THE COURT:   This is Exhibit 14?

          14                  MS. LAWRENCE:   Yes, it is.

          15                  THE COURT:   Yes, it's admitted, 14.

          16                  (Exhibit No. 14 received into evidence.)

          17      Q.    What did you do after you entered the room and observed

          18      the window open, Mr. Andrade on the bed?

          19      A.    I went up to Mr. Andrade and conducted a pat frisk of his

09:52AM   20      person to make sure he was not concealing any weapons.

          21      Q.    Was he concealing any weapons?

          22      A.    No.

          23      Q.    And what happened after that?

          24      A.    At that point, I instructed my colleague, Officer Cicerone

          25      to wait with Mr. Andrade while I conducted a quick sweep of the
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 42 of 141
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           1      walk-in closet to make sure that there was nothing in there

           2      that would potentially harm us.

           3      Q.    Did you find anything in the closet?

           4      A.    No, I did not.

           5      Q.    Did you do anything else in the room?

           6      A.    I did.

           7      Q.    What?

           8      A.    I looked out the window because I thought it was odd that

           9      the window at the time of night with a sick child crying on the

09:53AM   10      bed would be open with no screen, insect screen, so I popped my

          11      head out the window to take a look outside.

          12      Q.    Why did you think it was odd that the window was open?

          13      A.    It was 10:40 at night, it was freezing out.         I don't

          14      remember exactly how cold, but it was uncomfortably cold out,

          15      and due to the fact that the baby was sick, according to the

          16      mom, it didn't make any sense for a window to be opened at that

          17      time of night with the cold.

          18      Q.    When you popped your head out the window, did you see

          19      anything?

09:53AM   20      A.    I did.

          21      Q.    What did you see?

          22      A.    I could see the side yard of a house leading to the

          23      backyard of the house that was across the street.

          24      Q.    But you didn't see -- was that unusual for you to look out

          25      the window and see the side of the house?
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           1      A.    No, no.

           2      Q.    Okay.    What did you do after you looked out the window?

           3      A.    I advised my colleagues that I believed Mr. Andrade had

           4      possibly thrown something out the window, and I was going to go

           5      outside and check.

           6      Q.    Okay.    And did you go check?

           7      A.    I did.

           8      Q.    Okay.    Describe where you went after you left the bedroom.

           9      A.    So when I was still in the room, I had looked outside,

09:54AM   10      obviously, to find out where I was based on where the window

          11      was and straight down.      So I went to that spot outside, looked

          12      up, confirmed that it was the same exact spot that I had been

          13      looking out.

          14      Q.    Okay.    And when you were outside, did you find anything?

          15      A.    I did find -- I found a firearm resting on top of a pile

          16      of leaves.

          17                MS. LAWRENCE:     Exhibit 45 for the witness, please.

          18                THE WITNESS:    I'm sorry, could you repeat that?

          19                MS. LAWRENCE:     I was just bringing up a picture.

09:54AM   20      Q.    Sergeant Detective Capasso, do you recognize this

          21      photograph?

          22      A.    Yes, I do.

          23      Q.    And what is it?

          24      A.    That would be the firearm that I located on the side of

          25      the house.
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           1                 MS. LAWRENCE:     Your Honor, at this time I move to

           2      admit Exhibit 45 into evidence.

           3                 MR. IOVIENO:    I object, your Honor.

           4                 THE COURT:     That's this photo?

           5                 MS. LAWRENCE:     Yes, it is.

           6                 THE COURT:     All right.   Overruled.   It's admitted.

           7      45.

           8                 (Exhibit No. 45 received into evidence.)

           9      Q.    What did you do when you saw the gun lying on top of the

09:55AM   10      leaves?

          11      A.    I yelled out to my colleagues that I located a firearm,

          12      and subsequently they went upstairs and placed Mr. Andrade in

          13      our custody.

          14      Q.    Okay.    And what did you do with the firearm?

          15      A.    I contacted Detective Thermidor from the Somerville Police

          16      Criminal Investigation Division.       He came by and photographed

          17      the firearm.

          18                 MS. LAWRENCE:     Permission to approach, your Honor?

          19                 THE COURT:     Yes.

09:55AM   20      Q.    Sergeant Detective Capasso, I'm showing you what's been

          21      marked as Exhibit 46.1, 46.2 and 46.3.         Do you recognize these

          22      objects?

          23      A.    I do.

          24      Q.    What are they?

          25      A.    That would be the firearm and the magazine from the back
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 45 of 141
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           1      yard.    It's okay to open these?

           2      Q.      You can open them, if you like.

           3      A.      Ammunition.   Yeah.

           4                  MS. LAWRENCE:      The government moves to admit 46.1, .2,

           5      and .3 into evidence.

           6                  THE COURT:     They're admitted, 46.1, 46.2, 46.3.

           7                  (Exhibit Nos. 46.1, 46.2 and 46.3 received into

           8      evidence.)

           9      Q.      Sergeant Detective Capasso, did you know Mr. Andrade by

09:56AM   10      any other name?

          11      A.      I believe that he went by an alias name as "Triste," and I

          12      heard rumors that --

          13                  MR. IOVIENO:      Objection.

          14                  THE COURT:     Sustained.      Stop there.

          15                  MS. LAWRENCE:      Thank you.     No further questions, your

          16      Honor.

          17                  THE COURT:     Any cross?

          18                  MR. IOVIENO:      No, your Honor.

          19                  THE COURT:     All right.      You may step down.

09:56AM   20                  THE WITNESS:      Thank you, your Honor.

          21                  MR. POHL:    Your Honor, at this time the government

          22      calls Star Chung.

          23                  STAR CHUNG, having been duly sworn by the Clerk,

          24      testified as follows:

          25                  THE WITNESS:      Good morning, your Honor.
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           1                     MR. POHL:    May I inquire, your Honor?

           2                     THE COURT:    Yes.

           3                     MR. POHL:    Thank you.

           4                                    DIRECT EXAMINATION

           5      BY MR. POHL:

           6      Q.      Good morning.

           7      A.      Good morning, sir.

           8      Q.      Can you please introduce yourself to the ladies and

           9      gentlemen of the jury?

09:58AM   10      A.      Yes.    Good morning, jurors.     My name is Officer

          11      Star Chung.

          12      Q.      Could you spell your last name for the record?

          13      A.      Yes, C-h-u-n, as in November, g.

          14      Q.      Where do you work?

          15      A.      Chelsea Police Department.

          16      Q.      How long have you worked for the Chelsea Police

          17      Department?

          18      A.      Eight years now, sir.

          19      Q.      And what is your current assignment, Officer Chung?

09:58AM   20      A.      I'm in patrol, I work overnights.

          21      Q.      From when to when?

          22      A.      11:30 at night to 7:30 in the morning.

          23      Q.      Officer Chung, let me direct your attention to

          24      December 14, 2014.          Do you remember if you were working on that

          25      date?
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           1      A.    Yes.

           2      Q.    All right.    Let me direct your attention to the early

           3      morning hours of December 14, 2014.        Do you remember, did you

           4      receive a radio call?

           5      A.    Yes.

           6      Q.    And what was the radio call for?

           7      A.    It was a call for a victim of a gunshot wound, shots

           8      fired.

           9      Q.    Okay.    And do you remember where the shots fired call

09:59AM   10      directed you to go?

          11      A.    Yes, an address on Chester Avenue.

          12      Q.    Okay.    And what did you do when you got the radio call?

          13      A.    I began responding to the scene.

          14      Q.    And you pull up to -- is there a particular address on

          15      Chester Avenue that you pulled up to, Officer Chung?

          16      A.    Yes, 60 Chester Avenue specifically was called in for

          17      Apartment Number 2.

          18      Q.    Now, let me ask you, Officer Chung, we're talking about

          19      December 14, 2014.        Before that date, before December 14, 2014,

09:59AM   20      were you familiar with that address, 60 Chester Avenue?

          21      A.    Yes, sir.

          22                   MR. MURPHY:    Objection, your Honor.

          23                   THE COURT:    Sustained.

          24      Q.    All right.    Officer Chung, you pulled up, got to

          25      60 Chester Avenue.        Why don't tell the ladies and gentlemen of
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 48 of 141
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           1      the jury what you saw when you pulled up.

           2      A.    Upon my approach, there was a male party out in the front

           3      area of said address.      When I pulled up, I noticed that he was

           4      holding onto his left pectoral area.

           5      Q.    What did you do when you saw that?

           6      A.    At that point, I asked him if he was hurt, if he's been

           7      shot due to the nature of the call, in which -- at that point I

           8      lifted up his shirt and could see that there was a gunshot

           9      wound.

10:00AM   10      Q.    What did you do next?

          11                 MR. MURPHY:     Objection, your Honor, relevance.      And

          12      again, may we have a continuing objection to this subject

          13      matter?

          14                 THE COURT:    Yes, overruled, and you may have the

          15      continuing objection.

          16                 MR. MURPHY:     Thank you.

          17      Q.    Officer Chung, you lifted up the individual's shirt,

          18      correct?

          19      A.    Yes, sir.

10:00AM   20      Q.    Saw he had a gunshot wound?

          21      A.    Yes, sir.

          22      Q.    What's the next thing that you did?

          23      A.    I hailed for EMS Cataldo for medical aid.

          24                 MS. LAWRENCE:    And can we have Exhibit 34.1 for the

          25      witness, please.
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           1      Q.      All right.    So, Officer Chung, do you see the photograph

           2      in front of you on your screen?

           3      A.      Yes, sir.

           4      Q.      Do you recognize that location?

           5      A.      60 Chester Ave.

           6      Q.      Okay.    And I'm going to quickly walk you through a series

           7      of photographs that follow that I think you reviewed before

           8      your testimony here today.         I want you to quickly take a look

           9      at them.

10:02AM   10                     Have you seen those pictures before your testimony

          11      here today?

          12      A.      Yes.

          13      Q.      All right.    Do you recognize those?

          14      A.      Yes.

          15      Q.      And how do you recognize them?

          16      A.      I was there on scene that night.

          17      Q.      Those pictures are from -- do they accurately depict

          18      60 Chester Avenue, Apartment 2 as you saw it on December 14,

          19      2014?

10:02AM   20      A.      Absolutely.

          21                     MR. POHL:    All right.    I'd move to admit Exhibits 34.1

          22      through 34.17 and ask your permission to publish to the jury,

          23      your Honor.

          24                     MR. MURPHY:    Same objection, your Honor.

          25                     THE COURT:    All right.    Overruled.   They're admitted.
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           1      34.1 through 34.17.

           2                     (Exhibit Nos. 34.1 through 34.17 received into

           3      evidence.)

           4      Q.      All right.    Officer Chung, why don't you take us through

           5      these pictures as you were there that night.         On -- what are we

           6      looking here with 34.1?        It's the first picture in the

           7      sequence.       What's this?

           8      A.      This is the front area to 60 Chester Ave.

           9      Q.      All right.    So where -- I think you testified a moment ago

10:03AM   10      about the person you encountered who had a gunshot wound to his

          11      chest.    Where was that person when you pulled up to 60 Chester

          12      Ave.?

          13      A.      He was actually on the center steps to the left of

          14      60 Chester Ave.

          15      Q.      So just out of view of this photo?

          16      A.      Yes.

          17      Q.      All right.    And when you pulled up to 60 Chester Avenue,

          18      how did you and -- where did the person with the gunshot wound,

          19      did you walk to him, did he walk to you?        What happened?

10:03AM   20      A.      As soon as we arrived and he saw us, he immediately went

          21      to his feet and went to us to seek for help.         Now, we met right

          22      in the middle where 60 Chester Ave. was.

          23      Q.      Okay.    And did you have a conversation with that

          24      individual?

          25      A.      Yes.
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           1      Q.    Did you later learn his name?

           2      A.    Yes.

           3      Q.    And what was his name?

           4      A.    His name was Saul Rivera.

           5      Q.    And based on that conversation that you had with

           6      Mr. Rivera, what did you try to do next?

           7      A.    At that point, I applied pressure to his wound while we

           8      were waiting for Cataldo.      He also informed us of what

           9      occurred, and then at that point through the authorization of

10:04AM   10      our street supervisor, we attempted to make entry to the front

          11      common door.

          12      Q.    Of 60 Chester Ave.?

          13      A.    Yes, sir.

          14      Q.    And why did you want to go inside 60 Chester Avenue?

          15      A.    Because Saul said that there were other -- possible other

          16      victims upstairs who were also shot.

          17      Q.    Okay.    The front door that you were talking about is --

          18      you can actually -- Officer Chung, you can actually draw on it

          19      with your finger on the screen.

10:04AM   20      A.    Yes.

          21      Q.    What's the 60 Chester Avenue front door that you're

          22      talking about?

          23      A.    (Witness drawing on diagram)

          24      Q.    Right there, okay.     Thank you.    When you got to the front

          25      door of 60 Chester Avenue and you tried to go inside, what
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 52 of 141
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           1      happened?

           2      A.     The door was locked.

           3      Q.     What did you do?

           4      A.     At that point, we hailed for the fire department to come

           5      by to assist in the forced entry.

           6      Q.     Did you get inside the door?

           7      A.     Yes, sir.

           8      Q.     All right.   When you got inside the door, what did you

           9      see?

10:05AM   10      A.     Trails of blood.

          11      Q.     All right.   So let's go through some of these pictures

          12      quickly.    Let's go to 2.    All right.    What do you see here,

          13      Officer Chung?

          14      A.     I see, again, the front steps of 60 Chester Ave. and some

          15      blood particles.

          16      Q.     Okay.   3.

          17      A.     This is the other view to 60 Chester Ave. and also there

          18      are some blood droplets there.

          19      Q.     4.

10:05AM   20      A.     A closer zoomed in view of 60 Chester Ave. front steps

          21      with the blood droplets.

          22      Q.     5, please.   Is this the front door?

          23      A.     The front door now ajarred with the -- some blood droplets

          24      on the door.

          25      Q.     6?
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           1      A.    Closer look of the blood droplets on the door.

           2      Q.    7.   Where is this, Officer Chung?

           3      A.    This is as soon as you open the door and you could see the

           4      blood droplets of blood.

           5      Q.    And there's a stairway.      That's fine.    The next

           6      photograph, there's a stairway essentially right as you enter

           7      that front door?

           8      A.    Yes.

           9      Q.    What did you do when you got to those stairs?

10:06AM   10      A.    Due to the possible presence of a firearm, all officers

          11      drew our department-issued firearm.

          12      Q.    Where did you go next?

          13      A.    At that point, we went up to the second landing.

          14      Q.    When you got to the -- next photograph, please.         Stairs?

          15      A.    Stairs leading up to the second landing.

          16      Q.    Down on the left-hand side of the stairs, you see what?

          17      A.    The left-hand side of the stairs, there's also blood

          18      droplets on those steps.

          19      Q.    All right.   So I think I could -- am now caught up to you.

10:07AM   20      This is the second floor landing?

          21      A.    Yes.

          22      Q.    What do you see right before the door?

          23      A.    There's a yellow item there, there's also some blood

          24      droplets there.

          25      Q.    All right.   So you said that -- I think you used the word
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 54 of 141
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           1      "we," "We drew our service weapons."        Were you with other

           2      officers at this time?

           3      A.    Yes, sir.

           4      Q.    All right.    How many officers approached the door to the

           5      second floor landing?

           6      A.    There were three of us, including myself.

           7      Q.    Okay.   And when you got to the second floor landing,

           8      Officer Chung, what did you do then?

           9      A.    At that point actually a female tenant came out from the

10:08AM   10      second, apartment 2.

          11      Q.    And what happened next?

          12      A.    That's when my street supervisor, Lieutenant Sanchez,

          13      engaged her at the door, spoke to her in Spanish gaining

          14      consent to enter.     She let us in.

          15      Q.    All right.    So there's three of you.      Do you remember the

          16      sequence of officers who went in and -- sort of in what order?

          17      A.    Yes, sir.

          18      Q.    And what was that?

          19      A.    It was Lieutenant Sanchez guiding point, Officer Tom Riley

10:08AM   20      in the middle and myself in the rear.

          21      Q.    Okay.   So where did the -- the first two officers that you

          22      just mentioned, where did they go in the apartment?

          23      A.    At that point, they conducted a protective sweep of the

          24      apartment, they entered, and they split into the rooms.

          25      Q.    And looking for what?
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 55 of 141
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           1      A.    For presence of a weapon, any other suspects hiding,

           2      victims.

           3      Q.    All right.    What did you do when you went in the

           4      apartment?

           5      A.    As soon as I entered the apartment, there was a bathroom

           6      to my right with the door ajarred, in which I could see a male

           7      party lying on the floor.

           8      Q.    The next photograph, please.      Is that the bathroom,

           9      Officer?

10:09AM   10      A.    Yes, sir.

          11      Q.    All right.    You come in the front door and the bathroom is

          12      where?

          13      A.    To my right, immediate right.

          14      Q.    All right.    Can you tell the ladies and gentlemen of the

          15      jury what you're seeing, what you see in the bathroom floor?

          16      A.    Ladies and gentlemen of the jury, in the bathroom floor

          17      here, I saw a male party on the floor in a fetal position,

          18      which actually his -- may I?

          19      Q.    Yes.

10:09AM   20      A.    With his head facing this way towards the door.

          21      Q.    What did you do when you saw the man lying on the

          22      bathroom?

          23      A.    At that point, I immediately engaged him.        I checked him

          24      for injuries.     I noticed that he was not breathing.       He was

          25      also unconscious.     I lifted up his shirt and checked for
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           1      injuries, and indeed there were gunshot wounds.

           2                     THE COURT:     I'm sorry, Officer, can you -- the mic is

           3      very sensitive.       If you could just move maybe an inch further

           4      away.

           5                     THE WITNESS:    Like this, your Honor?

           6                     THE COURT:     Yes.   Thank you.

           7                     THE WITNESS:    No problem, sir.

           8                     MR. POHL:    Thank you, your Honor.

           9      Q.      All right.    Officer Chung, you lifted up the shirt of the

10:10AM   10      man on the bathroom floor?

          11      A.      Yes.

          12      Q.      All right.    And what did you see?

          13      A.      Gunshot wounds.

          14      Q.      What did you do then?

          15      A.      At that point, I immediately conducted chest compressions

          16      and rendered medical aid.

          17      Q.      The person wasn't breathing?

          18      A.      No, sir.

          19      Q.      And how long did you do that for?

10:11AM   20      A.      I did it for at least two rounds for chest compressions,

          21      which are at 30 intervals.

          22      Q.      After you had completed doing chest compressions, what

          23      happened?

          24      A.      At that point, Cataldo subsequently came up behind me, and

          25      they took over medical aid.
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           1      Q.    Were you present when the -- maybe everybody knows this,

           2      maybe they don't.     Cataldo are emergency technicians, right?

           3      A.    Paramedics, yes.

           4      Q.    And were you there when the paramedics attempted to help

           5      the person in the bathroom?

           6      A.    Yes, sir, but they removed him from the bathroom to give

           7      them a little bit more space.

           8      Q.    Okay.   Where did they bring the individual that you had

           9      done chest compressions on?      Where did they bring in the

10:11AM   10      apartment?

          11      A.    They brought him out into the hallway and brought him more

          12      into the kitchen space where there was more space.

          13      Q.    Okay.   Next photograph, please.      What are we seeing here,

          14      Officer Chung?

          15      A.    This is behind us would be the entryway, behind us to the

          16      right would be the bathroom, and this is the hallway leading

          17      out into the kitchen with the blood droplets on the floor and

          18      the big puddle of blood there was where he was worked on.

          19      Q.    Next photograph, please.

10:12AM   20      A.    Again, this is the -- a more open view of the kitchen

          21      space as you're standing immediately inside of it, and right

          22      there is the some of the tools paramedics used during the

          23      medical aid of the victim.

          24      Q.    And, Officer Chung, let's take a step back.         Do you

          25      see -- what do you see on the kitchen counters, on the table,
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           1      on the table against the window there?

           2      A.    A large amount of beer cans.

           3      Q.    Okay.    Next photograph, please.      Is this just a reverse

           4      angle of the same picture we were looking at before?

           5      A.    Yes, sir.

           6      Q.    All right.    What do you see on the floor?

           7      A.    On the floor you see the big puddle of blood here where

           8      the victim was worked on.      Again, you see the beer bottles

           9      lining the apartment.

10:13AM   10                  MR. POHL:   Can we have Exhibit 35 for the witness,

          11      please.

          12      Q.    Officer Chung, I'm going to show you, I think there's two

          13      pictures.     Let me show you both.    35.   This is Exhibit 35.1 and

          14      .2.   Do you recognize those?

          15      A.    Absolutely, sir.

          16      Q.    How do you recognize them?

          17      A.    This is the rear porch of 60 Chester Ave.

          18      Q.    Okay.    And did you see -- did you take a look outside onto

          19      the porch when you were there on December 14, 2014?

10:14AM   20      A.    Yes, I did.

          21      Q.    All right.    And do those fairly and accurately capture how

          22      the porch looks?

          23      A.    Absolutely.

          24                  MR. POHL:   Your Honor, I'd offer 35.1 and 2 into

          25      evidence and ask to publish.
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           1                THE COURT:     All right.   They're admitted.

           2                MR. POHL:     Thank you.

           3                (Exhibit Nos. 35.1 and 35.2 received into evidence.)

           4      Q.    All right.    Officer Chung, what are we looking at here?

           5      A.    This is another angle of the rear porch.

           6      Q.    Okay.   And .2.

           7      A.    And, again, this is the other angle.

           8      Q.    Okay.   So to get to the porch from the apartment, what did

           9      you do?

10:14AM   10      A.    You'd have to enter through the kitchen, open up the rear

          11      door, and then it leads out to the rear porch.

          12      Q.    Okay.   Officer Chung, what happened next that night while

          13      you were at 60 Chester Avenue?

          14      A.    At that point, Cataldo attempted to work on the gentleman

          15      like I've mentioned, and then they shipped him for transport.

          16      Q.    You remained on scene?

          17      A.    I was on scene.    I spoke to other roommates who were in

          18      the living quarters.

          19      Q.    Okay.   And after the conversations that you had with those

10:15AM   20      individuals, what did you do next?

          21      A.    At that point, I was cleared to go back to the station to

          22      write the report.

          23      Q.    While you were writing the report of what transpired that

          24      night, Officer Chung, did you learn the name of the person that

          25      was on the bathroom floor that you gave chest compressions to?
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           1      A.    Yes.

           2      Q.    And who was that?

           3      A.    Javier Ortiz.

           4      Q.    And while you were writing your report, Officer Chung, did

           5      you receive an update as to Mr. Ortiz' medical condition?

           6      A.    Yes.

           7      Q.    What did you learn?

           8      A.    I learned that he succumbed to his injuries and as a

           9      result was pronounced deceased at 4:01 in the morning.

10:16AM   10                   MR. POHL:    Thank you very much.

          11                   THE WITNESS:    Thank you, sir.

          12                   THE COURT:     Cross-examination.

          13                   MR. IOVIENO:    No.

          14                   MR. NORKUNAS:     If I might, Judge, just briefly.

          15                                    CROSS-EXAMINATION

          16      BY MR. NORKUNAS:

          17      Q.    Good morning, Officer.

          18      A.    Good morning, sir.

          19      Q.    You looked at a series of photographs relative to

10:17AM   20      60 Chester Ave. in this particular case.           And if I could just

          21      have you -- I think it's 34.3, the front door.          The next one,

          22      please.   That actually shows the door.          In relation to this

          23      particular area, would it be fair to say when you examined that

          24      there did not appear to be any forced entry to that door?

          25      A.    Yes.
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           1      Q.    You're saying yes.     You mean there was not any evidence?

           2      A.    There was no forced entry to the door, correct, sir.

           3      Q.    And there is not a photograph of the door entering the

           4      individual apartment up on the second floor, correct?

           5      A.    Correct.

           6      Q.    Was there any evidence to your memory that there was any

           7      type of forced entry to that door?

           8      A.    Which one, sir, the second floor landing?

           9      Q.    Second floor entry?

10:18AM   10      A.    No, sir.

          11      Q.    And if we could show the kitchen area on -- I think it

          12      would probably be four more up.       This area.    It did not

          13      appear -- when you went into that area of the apartment, there

          14      did not appear to be any evidence that there had been a

          15      physical struggle; is that fair to say?

          16      A.    Yes.

          17      Q.    Nothing -- there's obviously disarray from the EMTs that

          18      were trying to administer to the person, but nothing is thrown

          19      about, knocked about.      There's cans and bottles on tops of the

10:18AM   20      tables and counters, right?

          21      A.    Yes.

          22                   MR. POHL:   And if we could have the next photograph,

          23      please.

          24      Q.    The view there, there's a significant amount of blood

          25      there, but appeared that there was nothing disarrayed on the
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           1      countertops as well, correct?

           2      A.      Yes.

           3      Q.      And you indicated -- I believe you indicated the body was

           4      found in the bathroom?

           5      A.      Yes.

           6      Q.      But it appears that he was treated in the kitchen.        Did

           7      the EMTs bring him out or did he come out on his own to that

           8      spot?

           9      A.      I testified earlier, sir, that the EMTs brought him out

10:19AM   10      from the bathroom into the hallway and into the kitchen where

          11      there was more space.

          12      Q.      When you -- you had also testified to there was a rear

          13      door going out to a back porch, correct?

          14      A.      Yes, sir.

          15      Q.      Was there any evidence that that had been a forced entry

          16      or broken entry?

          17      A.      No, sir.

          18      Q.      And then there was an actual exterior door to the porch as

          19      well, correct?

10:19AM   20      A.      Yes.

          21      Q.      Was that, again, appeared to be broken or forced in any

          22      way?

          23      A.      No, sir.

          24                     MR. NORKUNAS:   Thank you.   I have nothing further,

          25      Judge.
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           1                   THE WITNESS:    Thank you, sir.

           2                   THE COURT:     Redirect?

           3                   MR. POHL:    No, your Honor.   Thank you, Officer.

           4                   THE COURT:     Thank you.   You may step down.

           5                   THE WITNESS:    Thank you, your Honor.   Thank you,

           6      jurors.

           7                   MS. LAWRENCE:     The government calls Deborah Huacuja.

           8                   DEBORAH HUACUJA, having been duly sworn by the Clerk,

           9      testified as follows:

10:20AM   10                                   DIRECT EXAMINATION

          11      BY MS. LAWRENCE:

          12      Q.    Good morning.

          13      A.    Good morning.

          14      Q.    Can you please say and spell your name for the jury.

          15      A.    My name is Deborah Huacuja, D-e-b-o-r-a-h, H-u-a-c-u-j-a.

          16      Q.    Where were you born?

          17      A.    I was born in Mexico.

          18      Q.    And what is your first language?

          19      A.    Spanish.

10:21AM   20      Q.    You also speak English?

          21      A.    Yes.

          22      Q.    When did you learn English?

          23      A.    I started studying English in first grade.

          24      Q.    Did you at some point move to the United States?

          25      A.    I'm sorry, I did not hear you.
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           1      Q.    Did you at some point move to the United States?

           2      A.    Yes, while I was in high school.

           3      Q.    Do you have a college degree?

           4      A.    I do.   I went to Rutgers at the Mason Gross School of Art.

           5      Q.    Do you have any advanced degrees?

           6      A.    No.

           7      Q.    What do you do for a living, Ms. Huacuja?

           8      A.    I'm an interpreter in the federal courts and in the state

           9      courts.

10:21AM   10      Q.    How long have you been working as an interpreter?

          11      A.    I became certified in the State of Washington in 1991.

          12      Q.    Do you also hold a certification here in the federal

          13      court?

          14      A.    Yes, I became federally certified in 1998.

          15      Q.    And in what languages are you certified to interpret?

          16      A.    In the federal system, there's only certification for

          17      Spanish and Navajo, but I'm qualified for -- I'm certified in

          18      Spanish, English, and I'm qualified for Hebrew.

          19      Q.    Can you explain what the certification process is for the

10:22AM   20      federal court?

          21      A.    The process is -- takes two years.       First, you have to

          22      pass a written exam, which is I would say equivalent to a

          23      master's degree language proficiency.        And if you pass the

          24      written exam, a year later, you are able to take the oral exam,

          25      which is much more specific to the judicial language.
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           1      Q.    And what do you mean by "judicial language"?

           2      A.    To be familiar with all the terminology in criminal cases,

           3      both in the courts, in the courtroom, and at the level of

           4      ordinary people on the street.

           5      Q.    Once you become certified, do you have recertification,

           6      tests or exams?

           7      A.    Not really, no.

           8      Q.    And when you interpret for the Court, who do you work for?

           9      A.    I work for myself.     I'm self-employed.

10:23AM   10      Q.    And are there different types of things that you do in the

          11      course of providing services?

          12      A.    Yes.    I pretty much cover every aspect of the judicial

          13      system, starting with interpreting for probation, pretrial

          14      services.     I work for both the defense attorneys and for the

          15      prosecution, and I know there's something else, but basically

          16      every aspect of the Court procedures in and out of court.

          17      Q.    And when you do that work, whether you're interpreting for

          18      pretrial services or the Court, the government or the

          19      defendant, are you paid?

10:24AM   20      A.    Yes.

          21      Q.    Okay.    And the party that hires you pays you, or the Court

          22      pays you for everything?

          23      A.    Correct -- no.    Well, a lot of it -- I think there are two

          24      budgets, like CJA and court and probation is one, is paid by

          25      the Administrative Court, and the prosecution is paid by the
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           1      Department of Justice.

           2      Q.     And have you provided interpreter services in connection

           3      with this case?

           4      A.     Yes.

           5      Q.     And how long have you been working on this case?

           6      A.     Since before -- I'd say about roughly three years.

           7      Q.     And in connection with this case, has the work that you

           8      have done included a variety of things that you just described,

           9      working for the Court, probation, the government and the

10:24AM   10      defense?

          11      A.     Yes.

          12      Q.     And I want to focus on your work for the government right

          13      now.   Have you prepared English transcripts of Spanish

          14      recordings?

          15      A.     Yes, I have.

          16      Q.     Can you please describe how you create a transcript of a

          17      recording.

          18      A.     I have a headset, and I'm given the recording and the

          19      laptop, and I listen to the recording, and I translate it, and

10:25AM   20      I write it down on the laptop, and that's it.

          21      Q.     And you said translate.     Can I ask you, is there a

          22      difference between interpreting or translating?

          23      A.     Yes.

          24      Q.     What is that?

          25      A.     Interpreting is usually oral.      Like I will -- like in a
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           1      trial or in a hearing, if the defendant doesn't speak English

           2      and speaks Spanish, one of -- myself or one of my colleagues

           3      will stand and translate, what we call interpreting, what is

           4      being said so that there is a communication between the Court

           5      and the defendant.

           6      Q.      And so when you're making your transcript, you're

           7      listening to the recording?

           8      A.      Yes.

           9      Q.      And you're typing while you're listening, or how does that

10:26AM   10      work?

          11      A.      Well, it's actually a pretty tedious process because you

          12      don't listen to it once, you know.       Sometimes the recordings

          13      aren't great, sometimes -- and usually you have to listen more

          14      than once even when the recording is great, you don't like --

          15      it's not like speaking where you say it and you're done.

          16      Writing it down is -- you have to be very exact.

          17      Q.      And what kinds of things are you considering when you're

          18      listening to a recording and you're trying to make it an exact

          19      translation of what you're listening to?

10:27AM   20      A.      Well, at all times, regardless of whether I'm transcribing

          21      or interpreting, you know, verbally, I am always interested in

          22      focusing, laser focusing on being accurate, so that is my main

          23      concern is to be accurate.      If I am not able to be sure of what

          24      I hear, I will write "unintelligible."        I don't guess.

          25      Q.      When you -- a slightly different question.       In your
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           1      experience, do all Spanish speakers speak Spanish in the same

           2      way?

           3      A.     Well, Spanish is one language.      It's the same language

           4      that we all speak.     We can all understand each other, of

           5      course.   In different parts of the world, there are many

           6      countries that are Spanish-speaking, and people develop the

           7      language in different ways.      Sometimes there are different

           8      accents, or words might be used differently.

           9                 The simplest example would -- even the word for beans

10:28AM   10      in Mexico is "frijoles," and in other places, it might be

          11      "porotos."    And so one of the challenges and pleasures, I'd

          12      say, of being an interpreter is becoming familiar with all the

          13      different ways of using the same words or similar words.

          14      Q.     And in addition to a word having different -- not the word

          15      having different meanings but the same thing being described by

          16      two different words, are there other considerations or

          17      differences in the language in terms of context or formality

          18      that you take into consideration?

          19      A.     Yes, that's what we call the register of the language.

10:29AM   20      For instance, when the Judge is giving instructions to a jury,

          21      that's very formal and high level language; whereas if you're

          22      having coffee with your friend, it's going to be much more

          23      relaxed, and so that we call the registry, and I think part of

          24      being an interpreter is maintaining the same tone or the same

          25      register of what has been said.
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           1      Q.    And you said earlier that your goal was to make an

           2      accurate transcript?

           3      A.    Correct.

           4      Q.    And it takes a long time?

           5      A.    Sometimes, yes.

           6      Q.    And actually do you have a sort of benchmark that you use

           7      for how long it would take to transcribe a certain amount, like

           8      a minute of recording takes this amount of time, or is there

           9      anything like that that you use?

10:29AM   10      A.    Sometimes interpreters are asked -- you know, if they're

          11      going to be asked to do a recording how long it will take, and

          12      the benchmark is about an hour per minute of recording.

          13      Q.    Per minute of spoken?

          14      A.    From hearing and writing and translating.

          15      Q.    Okay.    When you are listening to a recording and you are

          16      transcribing the words that are spoken, taking into

          17      consideration the differences in regional -- regional word

          18      usage and the register, do you also attempt to identify the

          19      voices of the speakers?

10:30AM   20      A.    No.

          21      Q.    No.     And if your transcript includes voices, speakers

          22      identified, where do those come from?

          23      A.    I'm told who the speakers are, or it's already included in

          24      the information that I have, and if I have the opportunity to

          25      verify it, if I don't know who the speaker is, I write
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           1      unidentified male or female, so that would be the UM or UF.

           2      Q.    When you're making transcripts, do you sit down and write

           3      a final transcript from the recording when you listen to it?

           4      A.    What do you mean?

           5      Q.    Is your product one final product?

           6      A.    You usually make a draft of it because of, you know, I

           7      might need to review it again and just to make sure because

           8      it's something that I want to do correctly.

           9      Q.    So you might have several iterations of a translation

10:31AM   10      before you reach the point where you feel like it's accurate?

          11      A.    Yes.

          12      Q.    In this case, in terms of achieving an accurate transcript

          13      and also identifying voices, did you work with anyone to try to

          14      do both of those things?

          15      A.    Yes.

          16      Q.    And who was that individual?

          17      A.    You want his name?

          18      Q.    Yes, please.

          19      A.    Jose Hernandez.

10:32AM   20      Q.    And who is he in connection to this case?

          21      A.    He's a defendant.

          22      Q.    Okay.   And you worked with him as part of making these

          23      transcripts, correct?

          24      A.    Well, no, I made the transcripts.

          25      Q.    Yes.
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           1      A.    And I had the opportunity to let him listen to them and

           2      identify the speakers.

           3      Q.    Okay.    And did he also at times identify words or phrases

           4      or provide context?

           5      A.    Yes.

           6      Q.    Okay.    So you did take into consideration some of the

           7      things he said in producing the final transcripts?

           8      A.    That is correct.

           9                   THE COURT:   Is this a good break point?

10:32AM   10                   MS. LAWRENCE:   Sure.

          11                   THE CLERK:   All rise.

          12                   (JURORS EXITED THE COURTROOM.)

          13                   (A recess was taken.)

          14                   THE CLERK:   All rise for the jury.

          15                   (JURORS ENTERED THE COURTROOM.)

          16                   THE CLERK:   Thank you.   You may be seated.    Court is

          17      now back in session.

          18      Q.    Ms. Huacuja, when we broke, just before we broke, we were

          19      talking a bit about your process for preparing a transcript?

10:49AM   20      A.    Correct.

          21      Q.    And you mentioned that you worked with Jose

          22      Hernandez-Miguel as part of that process?

          23      A.    Yes.

          24      Q.    Can you tell the jury what you did as part of that process

          25      with him?
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           1      A.      Well, I was not alone with Mr. Hernandez.      There were

           2      agents, and there was a laptop and we played the recording for

           3      Mr. Hernandez-Miguel to listen to while I already had my

           4      transcript, my draft transcript in front of me.          And as we

           5      listened to each recording, he identified who the speakers

           6      were.    If there was a word or a phrase that I was unfamiliar

           7      with, I had the opportunity to ask him the meaning of that, and

           8      that's what we did with each recording.

           9      Q.      And in the course of preparing the transcripts, you

10:50AM   10      mentioned earlier that you listened to the recordings several

          11      times?

          12      A.      Correct.

          13      Q.      And you described how long it would take.      It's fair to

          14      say several hours you'd listen to a recording in preparing that

          15      one transcript?

          16      A.      Yes, more than that even.

          17      Q.      Okay.   And how many hours do you think you spent listening

          18      to recordings in this case preparing transcripts?

          19      A.      I couldn't say a number, but many.

10:51AM   20      Q.      Many.   In the course of listening those recordings, did

          21      you become familiar with certain voices?

          22      A.      Yes, I could hear that there was a voice similar to the

          23      one I had heard previously.

          24      Q.      And did you also watch videos?     Were some of these

          25      recordings video and audio?
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           1      A.    Yes.

           2      Q.    And when you were watching the video, could you see people

           3      speaking at times on screen?

           4      A.    Yes.    My focus was mostly audio.     Having a visual really

           5      makes no difference in my translation.

           6      Q.    Did it make any difference to you in whether you felt your

           7      identification of a speaker or someone else's was accurate?

           8      A.    I really didn't focus that much on it.        I just really

           9      focused on what each person was saying.

10:52AM   10      Q.    And the translation of those words onto the transcript?

          11      A.    Yes.

          12      Q.    Okay.    Ms. Huacuja, I'd like to show you -- just for the

          13      witness, please.     Exhibit -- I'm sorry, this is just for the

          14      witness.     This is what's been marked as Exhibit 200.       Do I hit

          15      it or -- this is a disk -- well, tell me, what is this that

          16      you're seeing on the screen right now?

          17      A.    I see an envelope with a compact disk in it.

          18      Q.    And is there a date on that disk?

          19      A.    Yes, 1-25-14.

10:53AM   20      Q.    Do you know what this is?

          21      A.    It says Exhibit 200 from 15-10338.

          22      Q.    And is this a recording made on January 25, 2014?           This is

          23      a disk of that recording?

          24      A.    I don't know when it was made, but it is a recording.

          25      Q.    Okay.    All right.   Did you listen to this recording?
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           1      A.    Yes.

           2                   MS. LAWRENCE:   Okay.   Can I pull up for the exhibit --

           3      this is back to the screen.      Exhibit 20, please.

           4      Q.    Ms. Huacuja, do you recognize this document on the screen?

           5      A.    Yes.

           6      Q.    Okay.    What is that, please?

           7      A.    It's a transcript that I made.

           8      Q.    And is this the full transcript or an excerpt?

           9      A.    Well, all I see is the first page.       I believe this is an

10:54AM   10      excerpt from a full transcript.

          11      Q.    And this is a transcript that you made, correct?

          12      A.    Correct.

          13                   MS. LAWRENCE:   Okay.   Back to the Elmo, please, for

          14      the witness.

          15      Q.    So what's been marked for identification as Exhibit 201.

          16      Did you listen to this recording made on February 16, 2014?

          17      A.    I listened to that recording, yes.

          18                   MS. LAWRENCE:   And for the witness, please,

          19      Exhibit 119.

10:54AM   20      Q.    Do you recognize this?

          21      A.    Yes.

          22      Q.    What is it, please?

          23      A.    It's another transcript that I made.

          24      Q.    That you made, okay.     Thank you.

          25                   MS. LAWRENCE:   And back to the Elmo, please.        I'm
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           1      showing you what's been marked as Exhibit 202.

           2      Q.    Did you listen to this recording made on June 14, 2014?

           3      A.    Yes.

           4                   MS. LAWRENCE:   And for the witness, please,

           5      Exhibit 22.

           6      Q.    Ms. Huacuja, do you recognize this item?

           7      A.    Yes, it's another transcript that I made.

           8      Q.    And also of the June 14, 2014 recording, correct?

           9      A.    Yes.

10:56AM   10                   MS. LAWRENCE:   Exhibit 120 for the witness, please.

          11      Q.    Do you recognize this document?

          12      A.    Yes.

          13      Q.    And what is it?

          14      A.    It's another transcript that I made.

          15                   MS. LAWRENCE:   Back to the Elmo, please.

          16      Q.    Ms. Huacuja, did you listen to this recording made on

          17      February 8, 2015?

          18      A.    Yes.

          19                   MS. LAWRENCE:   And Exhibit 23 for the witness, please.

10:56AM   20      Q.    Do you recognize this document?

          21      A.    Yes.

          22      Q.    And what is that?

          23      A.    It's another transcript that I made.

          24      Q.    A recording we just --

          25      A.    Correct, of the previous recording.
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                                                                                     6-76




           1                   MS. LAWRENCE:   Elmo again, please.

           2      Q.    Did you listen to this recording made on March 29, 2015?

           3      A.    I did.

           4                   MS. LAWRENCE:   And Exhibit 24 for the witness.

           5      Q.    Do you recognize this document?

           6      A.    Yes, I do.

           7      Q.    And what is it, please?

           8      A.    It's another transcript that I made.

           9      Q.    Of the recording we just --

10:57AM   10      A.    Of the recording that I just saw.

          11      Q.    Okay.

          12                   MS. LAWRENCE:   Elmo, please.

          13      Q.    Did you listen to this recording made on August 31, 2015?

          14      A.    Yes, I did.

          15                   MS. LAWRENCE:   Exhibit 27 for the witness, please.

          16      Q.    Do you recognize this document?

          17      A.    Yes.

          18      Q.    What is it?

          19      A.    It's another transcript that I made from the previous

10:58AM   20      recording.

          21                   MS. LAWRENCE:   Elmo, please.

          22      Q.    Did you listen to this recording of an October 24, 2015

          23      recording?

          24      A.    Yes.

          25                   MS. LAWRENCE:   Exhibit 28 for the witness, please.
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                                                                                    6-77




           1      Q.    I'm going to show you two documents related to the

           2      recording we just saw.       The first is the one before you now.

           3      Do you recognize this?

           4      A.    Yes, it's a transcript that I made of the recording that

           5      we just saw.

           6                   MS. LAWRENCE:   Okay.   And then Exhibit 121, please.

           7      Q.    And do you also recognize this document?

           8      A.    Yes.

           9      Q.    Okay.    And what is that?

10:58AM   10      A.    It's a transcript that I made of the same recording.

          11      Q.    Okay.    And why were there two transcripts?

          12      A.    There are two different parts.

          13      Q.    Two different parts, okay.

          14                   MS. LAWRENCE:   Elmo again, please.

          15      Q.    Did you listen to this recording made on January 8, 2016?

          16      A.    Yes.

          17                   MS. LAWRENCE:   For the witness, Exhibit 31.

          18      Q.    Do you recognize this document?

          19      A.    Yes.

10:59AM   20      Q.    What is it, please?

          21      A.    It's another transcript that I made of the previous

          22      recording.

          23      Q.    I will show you another document related to the disk we

          24      just saw.     This is Exhibit 122.    Do you recognize this?

          25      A.    Yes.
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                                                                                    6-78




           1      Q.    What is it, please?

           2      A.    It's a transcript that I made of the previous recording,

           3      different section.

           4      Q.    Thank you.

           5                   MS. LAWRENCE:   Elmo again, please.

           6      Q.    Did you listen to calls -- I'm sorry, did you listen to

           7      the recordings of calls made on December 16, 2014?

           8      A.    Yes.

           9                   MS. LAWRENCE:   For the witness, please.

11:00AM   10      Q.    I'm showing you Exhibit 44.1 through 44.4.         Do you

          11      recognize those documents?

          12      A.    Yes.

          13      Q.    And what are they, please?

          14      A.    They are transcripts I made of the previous recordings.

          15                   MS. LAWRENCE:   Elmo, please.

          16      Q.    Did you listen to a recording made on January 21st, 2014?

          17                   THE COURT:   Before we -- you talked about a disk

          18      bearing the date December 16, 2014, but you didn't give it a

          19      number?

11:01AM   20                   MS. LAWRENCE:   I'm sorry, 209, your Honor.

          21                   THE COURT:   Okay.   Go ahead.

          22      Q.    This is a disk marked for identification as Exhibit 210,

          23      recording made on January 21st, 2013.         Did you listen to this

          24      recording?

          25      A.    Yes.
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                                                                                    6-79




           1                     MS. LAWRENCE:   For the witness, please, Exhibit 55.

           2      Q.      Do you recognize this document?

           3      A.      Yes.

           4      Q.      And what is it, please?

           5      A.      It's a transcript I made of the previous recording.

           6                     MS. LAWRENCE:   Elmo, please.

           7      Q.      Okay.    Showing you a disk that's been marked as

           8      Exhibit 211.       It's a recording of calls made on February 14,

           9      2014.    Did you listen to these calls?

11:01AM   10      A.      Yes, I did.

          11                     MS. LAWRENCE:   For the witness, please, Exhibits 56.1

          12      through 53.

          13      Q.      Do you recognize those documents?

          14      A.      Yes.

          15      Q.      What are they?

          16      A.      They are transcripts I made of the recordings.

          17      Q.      That were on the prior disk that we --

          18      A.      Correct, of the previous disk.

          19                     MS. LAWRENCE:   Okay.   Elmo, please.

11:02AM   20      Q.      Showing you a disk that's been marked for identification

          21      as Exhibit 212.       Did you listen to these recordings of calls

          22      made December 1, 2014 through December 8, 2014?

          23      A.      Yes.

          24                     MS. LAWRENCE:   For the witness, please, Exhibit 62.1

          25      through 62.4.
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                                                                                       6-80




           1      Q.    Do you recognize these documents?

           2      A.    Yes, they are transcripts that I made of the previous

           3      recording.

           4                   MS. LAWRENCE:   Elmo, please.

           5      Q.    Showing you what's been marked as Exhibit 214 for

           6      identification, a recording made on June 4, 2015.          Did you

           7      listen to this recording?

           8      A.    I did.

           9                   MS. LAWRENCE:   Exhibit 73 for the witness, please.

11:03AM   10      Q.    Do you recognize this document?

          11      A.    Yes.

          12      Q.    What is it, please?

          13      A.    It's a transcript that I wrote of the previous recording.

          14                   MS. LAWRENCE:   Okay.   Elmo, please.

          15      Q.    I'm showing you two disks.      One is marked as

          16      Exhibit 215.1, the other is 215.2.       These are recordings made

          17      on April 28, 2015.     Did you listen to these recordings?

          18      A.    Yes.

          19                   MS. LAWRENCE:   Okay.   Exhibit 89 for the witness,

11:04AM   20      please.

          21      Q.    Do you recognize this document?

          22      A.    Yes.

          23      Q.    What is it?

          24      A.    It's a transcript I made of the previous recordings.

          25                   MS. LAWRENCE:   Okay.   Elmo, please.
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                                                                                       6-81




           1      Q.    Showing you what's been marked as Exhibit 216 for

           2      identification.     This is a recording made on October 2, 2015.

           3      Did you listen to this recording?

           4      A.    Yes.

           5      Q.    Exhibit 103 for the witness, please.        Do you recognize

           6      this document?

           7      A.    Yes.

           8      Q.    What is it?

           9      A.    It's a transcript I made of the previous recordings.

11:04AM   10                   MS. LAWRENCE:   Elmo, please.

          11      Q.    Showing you a disk that's been marked as Exhibit 217.

          12      It's a recording made on December 6, 2015.         Did you listen to

          13      this recording?

          14      A.    Yes, I did.

          15                   MS. LAWRENCE:   Exhibit 106 for the witness, please.

          16      Q.    Do you recognize this document?

          17      A.    Yes.

          18      Q.    And what is it?

          19      A.    It's a transcript I did of the previous recording.

11:05AM   20                   MS. LAWRENCE:   I'd like to show the witness also

          21      Exhibit 125.

          22      Q.    Do you also recognize this document?

          23      A.    Yes.

          24      Q.    And what is that?

          25      A.    It's a transcript I made of the previous recording.
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                                                                                         6-82




           1      Q.    And as with prior disk that had two transcripts, is this a

           2      separate part of the recording?

           3      A.    Yes.

           4                   MS. LAWRENCE:    Okay.   Elmo, please.

           5      Q.    Showing you what's been marked as Exhibit 218.         It's a

           6      recording of a call made on January 1, 2016.          Did you listen to

           7      this recording?

           8      A.    Yes.

           9                   MS. LAWRENCE:    Exhibit 115 for the witness, please.

11:05AM   10      Q.    Do you recognize this document?

          11      A.    Yes.

          12      Q.    And what is it?

          13      A.    It's a transcript I made of the previous recording.

          14                   MS. LAWRENCE:    Elmo, please.

          15                   MR. MURPHY:     Is that 115 or 114, your Honor?

          16                   THE COURT:    She said 115.     I think the last one --

          17                   MS. LAWRENCE:    It was 114.

          18                   THE COURT:    It should be 114?

          19                   MS. LAWRENCE:    It should've been 114.

11:06AM   20                   THE COURT:    The transcript.

          21                   MS. LAWRENCE:    Thank you.

          22      Q.    Now showing you what's been marked as Exhibit 219 for

          23      identification.     It's a recording made on January 2, 2016.          Did

          24      you listen to this recording?

          25      A.    Yes, I did.
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           1      Q.      Okay.

           2                     MS. LAWRENCE:     Now.   Exhibit 115 for the witness.

           3      Thank you.

           4      Q.      Do you recognize this document?

           5      A.      Yes.

           6      Q.      And what is it?

           7      A.      It's a transcript I made of the previous recording.

           8                     MS. LAWRENCE:     Elmo again, please.

           9      Q.      Okay.    Now I'm showing you what's been marked as

11:07AM   10      Exhibit 220 for identification.            This is a recording -- a

          11      different recording made on January 2, 2016.              Did you listen to

          12      this?

          13      A.      Yes.

          14                     MS. LAWRENCE:     And Exhibit 116 for the witness,

          15      please.

          16      Q.      Do you recognize this document, Ms. Huacuja?

          17      A.      Yes.

          18      Q.      And what is it, please?

          19      A.      It's a transcript I made of the previous recording.

11:07AM   20                     MS. LAWRENCE:     No further questions at this time, your

          21      Honor.

          22                     THE COURT:     All right.   Mr. Iovieno.

          23                     MR. IOVIENO:    Yes, your Honor.    Thank you.

          24

          25
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           1                                 CROSS-EXAMINATION

           2      BY MR. IOVIENO:

           3      Q.    Good morning.

           4      A.    Good morning.

           5      Q.    We know each other, correct?

           6      A.    Correct.

           7      Q.    We've worked together in the past?

           8      A.    Yes, we have.

           9      Q.    Is it fair to say that you spent hundreds of hours doing

11:08AM   10      these transcriptions?

          11      A.    As I said, I really can't tell you a number, but many

          12      hours.

          13      Q.    It was a pretty big job to do, correct?

          14      A.    Yes, sir.

          15      Q.    And you spent about three years doing this for the

          16      government?

          17      A.    I've been working on this case for about three years, not

          18      only doing this.

          19      Q.    And is it fair to say that this was a tedious process for

11:08AM   20      you doing this?

          21      A.    Which part?

          22      Q.    Actually listening to the tapes and then transcribing

          23      them, that that was a tedious type of task for you?

          24      A.    Well, I mean it's -- the nature of the work is tedious in

          25      the sense that you have to listen over and over again.
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           1      Q.    And you have to listen over and over again because the

           2      recordings, if you will, are not sometimes of good quality,

           3      correct?

           4      A.    In some cases, the recordings are sometimes not a good

           5      quality.     In this case, as it turned out, they were pretty

           6      consistently a good quality.

           7      Q.    But with respect to say when there's a number of voices

           8      being heard at a meeting, sometimes it's difficult to hear some

           9      of the voices that are off and to a distance that are speaking,

11:09AM   10      correct?

          11      A.    That's correct.

          12      Q.    Simply for the fact that the person recording or the

          13      recording device is located in one area and the other people

          14      may be located a distance away?

          15      A.    That's possible, yes.

          16      Q.    And their voices, if you will, are sometimes -- are

          17      muffled?

          18      A.    Yes.

          19      Q.    And you come across that situation and you can't

11:10AM   20      understand what someone is saying, you put down whatever you

          21      heard was unidentified, right?

          22      A.    "Unintelligible" or sometimes "voices overlapping," which

          23      implies that it's unintelligible.

          24      Q.    And that occurred on a number of occasions during the

          25      course of this case, correct?
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           1      A.     Yes.

           2      Q.     And with respect to -- you knew the identity of the person

           3      who had the recorder on, correct?

           4      A.     I knew that person as CW.

           5      Q.     CW-1?

           6      A.     CW-1, yes.

           7      Q.     And it's fair to say that his voice was pretty clear,

           8      because the recording device was on him, so you could recognize

           9      his voice, correct?

11:10AM   10      A.     Not necessarily.   I mean, all the voices -- there were

          11      many voices that were pretty clear.

          12      Q.     But with respect to his, in particular, because the

          13      recording device was on him, you had no difficulty after

          14      listening a few times to identify his voice, correct?

          15      A.     I didn't identify any voices.      That was somebody else's

          16      job.

          17      Q.     Okay.   So, you didn't identify any of the speakers on

          18      these transcripts?

          19      A.     Correct.

11:11AM   20      Q.     You relied on other people to do that for you, right?

          21      A.     To do that, period.    Not for me, but for the case.

          22      Q.     And on the documents that you were shown by the

          23      government, the actual identification of the speakers you did

          24      not do?

          25      A.     Correct.
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           1      Q.      And when you were doing this process, when you first

           2      started the process, were you given any draft transcripts by

           3      other linguists who did this for the government?

           4      A.      Sometimes.

           5      Q.      Okay.   And on how many occasions were you given other

           6      transcripts done by others?

           7      A.      I don't know.

           8      Q.      But it was a number of occasions?

           9      A.      Yes, not that many, but a few.

11:11AM   10      Q.      And did you work off of those transcripts that other

          11      people did to come up with your own version of the transcripts?

          12      A.      I sometimes reviewed the other transcripts, but mostly

          13      even if there was a previous transcript, I would create my own

          14      transcript.

          15      Q.      And is it fair to say that you came up with a number of

          16      different draft transcripts and they morphed or changed over

          17      time?    Is that fair to say?

          18      A.      As I progressed, you know, it wasn't like I did the full

          19      translation of a transcript in one sitting.         So as I worked on

11:12AM   20      it, it wasn't that only that might have changed but that I was

          21      advancing in the translation.       So if it was unfinished, I just

          22      called it a draft, and then even once it was finished, I still

          23      left myself the option of being able to go back and make a

          24      change, if necessary.

          25      Q.      And you had conversations with the government about that
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           1      process; is that fair to say?

           2      A.    Yeah.

           3      Q.    And its fair to say that you told them that this was not a

           4      final product, that this needs work, and the transcripts went

           5      over transformation until it became a final transcript, right?

           6      A.    I didn't say it needed work.      I'd just write "draft" on

           7      it.   It wasn't a conversation about it.

           8      Q.    Well, you understood that certain of these draft

           9      transcripts were produced during the course of this trial,

11:13AM   10      correct?

          11      A.    I'm sorry.   I didn't understand the question.

          12      Q.    Was it your understanding that certain drafts of the

          13      transcripts were produced during the course of this litigation?

          14      A.    Yes.

          15      Q.    And you understood that with respect to say one meeting

          16      that may have been three, four or five or even six transcripts

          17      that were produced that were drafts?

          18      A.    I don't know.

          19      Q.    You had no role in that, correct?

11:13AM   20      A.    No.

          21      Q.    And at some point when you completed your work on say one

          22      of the meetings, did you indicate this was the final

          23      transcript?

          24      A.    Yes.

          25      Q.    And there was nothing more for you to do on it?
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           1      A.    Yes.

           2      Q.    That that was the best you could do with it, correct?

           3      A.    Correct.

           4      Q.    And coming to that end product, there were numerous drafts

           5      in between on some of these meetings; not all of them, but some

           6      of them?

           7      A.    Well, it wasn't that there was a finished draft and then

           8      another finished drafts.           Mostly the drafts were, as I said,

           9      previously, because it was unfinished.

11:14AM   10      Q.    Well, let's direct your attention to a specific task that

          11      you did, okay.

          12                   MR. IOVIENO:    And I'm going to show the document

          13      camera for the witness.

          14                   MS. LAWRENCE:     Your Honor, objection.

          15                   THE COURT:     I'm sorry.

          16                   MS. LAWRENCE:     Objection.

          17                   THE COURT:     Well, he hasn't shown anything.    Let me

          18      see what he's showing her.          This is the witness, should be

          19      witness only?

11:14AM   20                   MR. IOVIENO:    Yes.

          21                   THE COURT:     Yes.

          22      Q.    I'm going to show you a document, and it appears to be the

          23      January, 2016 draft transcript, correct?

          24      A.    Yes.

          25      Q.    The first page of it?
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           1      A.    I'm sorry.

           2      Q.    The first page of it?

           3      A.    Yes.

           4      Q.    All right.   And that's a draft transcript that you did for

           5      the government, right?

           6      A.    Yes.

           7      Q.    And with respect to this meeting, is it fair to say that

           8      there were a number of draft transcripts that you submitted

           9      regarding this meeting?

11:15AM   10      A.    Possibly.

          11      Q.    Okay.   And there were certain information or translations

          12      in that transcript during the various drafts that changed over

          13      time, correct?

          14      A.    I believe so, yes.

          15      Q.    And with respect to say the identification of the

          16      speakers, it's your understanding that also changed on some

          17      occasions?

          18      A.    Yes.

          19      Q.    Okay.   And that changed because somebody told you it was a

11:15AM   20      different speaker, right?

          21      A.    Correct.

          22      Q.    And that wasn't something that you did?

          23      A.    Correct.

          24      Q.    And if I could just turn to page 51.        And, again, just so

          25      we're clear, the identification of the speakers on page 51, on
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           1      this version, this is not something that you did, someone else

           2      did?

           3      A.     Correct.

           4      Q.     I'll show you another document which appears to be another

           5      draft transcript of the January 8, 2016 recording, correct?

           6      A.     Yes.

           7      Q.     Okay.    This is another version of the transcript that you

           8      put in to the government?      You gave this to the government?

           9      A.     It appears to be different, yes.

11:16AM   10      Q.     It's an earlier version of what I just showed you earlier,

          11      correct?      This predated that version?

          12      A.     Well, this might be one of the transcripts that was

          13      originally made by somebody else.

          14      Q.     So with respect to the January 8th meeting, specifically,

          15      that's one of the transcripts that someone else may have

          16      contributed to in making the --

          17      A.     Possibly, yes.    There are certain abbreviation lists that

          18      I don't use.

          19      Q.     And could you just point that out on this document for me?

11:17AM   20      A.     Right there.

          21      Q.     And that is something that you do not use, and that would

          22      indicate to you that you didn't produce this draft transcript?

          23      A.     It's possible that I worked on it.

          24      Q.     Now, with respect to the -- I think you testified that

          25      some of the language was -- the dialect was different?
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           1      A.    Some words are different.       It's not a different dialect.

           2      Q.    Is it fair to characterize some of the language that you

           3      heard on these tapes as slang?

           4      A.    Yes.

           5      Q.    And it's fair to say that there were certainly muffled

           6      words and language during the course of your doing these

           7      transcriptions?

           8      A.    Well, like I said, if it's muffled, if I can't understand

           9      it, I don't translate what I didn't hear.

11:18AM   10      Q.    And, again, with respect to -- you understood that there

          11      was someone with the name of Lobo that was identified to you as

          12      perhaps one of the speakers, correct?

          13      A.    As a nickname, yes.

          14      Q.    Okay.    And were you told that there were two Lobos

          15      involved in this case?

          16      A.    No.

          17                   MR. IOVIENO:    I have nothing further.

          18                   THE COURT:     Any other cross?   Mr. Norkunas.

          19                                    CROSS-EXAMINATION

          20      BY MR. NORKUNAS:

          21      Q.    Good morning.

          22      A.    Good morning.

          23      Q.    We also have worked together.

          24      A.    That is correct.

          25      Q.    In relation to the rough product, if I could call it that,
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           1      the original disk that came in, was there ever a meeting in

           2      which multiple interpreters or translators were all together in

           3      one area and trying to work on transcripts?

           4      A.    No.

           5      Q.    Did you ever meet or discuss transcripts that came from

           6      other providers as to why they had interpreted certain terms in

           7      certain ways?

           8      A.    No.

           9      Q.    It's fair to say that -- is it fair to say that there were

11:20AM   10      different people -- you became familiar with there were

          11      different people in different sections of the country that were

          12      interpreting the rough tapes and then those transcripts were

          13      coming to you?

          14      A.    I'm sorry.   Could you repeat the question?

          15      Q.    There were other interpreters in other sections of the

          16      country which were preparing initial transcripts of some of the

          17      recordings and then those would come to you?

          18      A.    I don't know where they came from.

          19      Q.    So you were never told by anybody we have had a certain

11:20AM   20      person do transcripts and they're coming to you?

          21      A.    No.

          22      Q.    You didn't know their proficiency, you didn't know their

          23      training, you didn't know their background, you were just given

          24      a transcript and told this is part of the case?

          25      A.    I didn't know anything about the transcripts that were
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           1      done before I saw them.

           2      Q.    So once you were given a transcript, a typed version of a

           3      recording, you weren't asked to redo it, correct?

           4      A.    Most of the transcripts that I made, I was given a

           5      recording from the start.      Some transcripts had been done

           6      previously.    I was -- I looked at some of them because I was

           7      asked to and then produced my own transcript, if necessary.

           8      Q.    That would be -- some of them, is that a number that means

           9      1, 2, 3, 4?

11:21AM   10      A.    Yes, maybe three or four.

          11      Q.    Three or four, all right.      Do you know how many came in

          12      from other interpreters that you had not met or encountered?

          13      Do you know what the total number of that would have been?

          14      A.    No, I have no idea.

          15      Q.    And did you simply -- or not simply.        Did you go into

          16      those to determine if there was something there that you

          17      thought that was not consistent with the way you were

          18      interpreting a phrase or a name?

          19      A.    When I was asked to review a transcript, it was already

11:22AM   20      done by somebody else.      My process was to listen to the

          21      recording while I'm reviewing the transcript and see if I agree

          22      with that transcript or not.       And if it was a transcript that

          23      needed to be produced, I made changes in my own transcript.

          24      Q.    So there were terms used by another interpreter someplace

          25      that you may have disagreed with and then you would change it?
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           1      A.      No terms, words.

           2      Q.      Words that you would disagree with and you would change

           3      those?

           4      A.      Sometimes it would say "unintelligible," and I could tell

           5      what was being said, so I would put in what I heard, and

           6      sometimes there were things that were incorrect and I corrected

           7      them.

           8      Q.      When you say incorrect, that was your interpretation of

           9      whether that was correct or not correct?

11:23AM   10      A.      Yes and no because a language is used because it has

          11      meaning, so if something that you hear is -- if you hear it and

          12      what is written is not what you hear, then that is incorrect,

          13      so it's not a matter of interpretation, it's, you know, what it

          14      says.

          15      Q.      But you were unfamiliar with the knowledge or the skills

          16      of the person that had given you the original transcript,

          17      correct?

          18      A.      I had no knowledge of the person who had done the original

          19      transcript.

11:23AM   20      Q.      You became the final judge?

          21      A.      Yes.

          22                     MR. NORKUNAS:   Thank you.

          23                     THE COURT:   Anyone else?    Any redirect?   I'm sorry,

          24      Ms. Rodriguez.

          25
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           1                                    CROSS-EXAMINATION

           2      BY MS. RODRIGUEZ:

           3      Q.    Good morning, Ms. Huacuja.

           4      A.    Good morning.       How are you?

           5      Q.    We have not worked together, but my name is

           6      Madeleine Rodriguez, and I represent Mr. Sandoval.          I just want

           7      to ask you a few questions about some of the translations that

           8      you reviewed with Ms. Lawrence, if that's okay.

           9      A.    Yes.

11:24AM   10                   THE COURT:    Can you get the cord off the screen, if

          11      you would, please.        Thank you.

          12      Q.    Ms. Huacuja, do you recall seeing this translation

          13      transcript?

          14      A.    Yes.

          15      Q.    And you prepared this transcript, correct?

          16      A.    Correct.

          17      Q.    I want to direct your attention to the statement -- the

          18      paragraph towards the bottom.          I'm going to play for you the

          19      original recording, if that's all right, and then once we've

11:25AM   20      listened to the Spanish, I'd like to discuss the translation.

          21                   THE COURT:    This isn't in evidence.    It has not been

          22      admitted into evidence, the recording or the transcript, at

          23      this point.     If everyone agrees, we can just admit it, if that

          24      saves time, but --

          25                   MS. RODRIGUEZ:    Could we be seen at sidebar briefly?
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           1                THE COURT:    All right.

           2                MS. RODRIGUEZ:     Thank you.

           3                (THE FOLLOWING OCCURRED AT SIDEBAR:)

           4                MS. LAWRENCE:     It hasn't been admitted because the

           5      speakers have not been identified yet by Ms. Huacuja.

           6                THE COURT:    I understand why you haven't offered it

           7      yet.   If she wants to offer the recording or the disk, you're

           8      not going to object to it, you intend to offer it at some

           9      point, right?

11:26AM   10                MR. POHL:    I don't think so.     I don't think we intend

          11      to offer the Spanish recording.       I mean, there's one or two

          12      excerpts for one or two reasons like the one last week with --

          13      but I don't expect we would offer the full recordings

          14      themselves.

          15                THE COURT:    Even so, what would the objection be to

          16      playing the recording?      Presumably, it's the government's own

          17      recording in Spanish.

          18                MS. LAWRENCE:     Sorry.   The objection would be that

          19      that's not the evidence, and we're not entirely sure what the

11:26AM   20      point of playing --

          21                THE COURT:    But how else does Ms. Rodriguez, if she

          22      wants to contest the translation of a word?

          23                MS. LAWRENCE:     Is it the translation or the speaker

          24      because we haven't --

          25                THE COURT:    If it's the speaker, she's not the right
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           1      witness.    Is it the translation?

           2                  MS. RODRIGUEZ:    It's the translation.

           3                  THE COURT:     Okay.   Well, it seems to me that -- I

           4      guess I don't see any reason why I can't admit the disk, at

           5      least for this purpose and then, at a minimum, we can admit the

           6      transcript of the relevant paragraph or word or whatever that

           7      she's arguing about, although, I don't know why the whole, you

           8      know, again, unless someone objects --

           9                  MS. LAWRENCE:     We are going to object because we're

11:27AM   10      offering it.

          11                  THE COURT:     You are not offering it?

          12                  MS. LAWRENCE:     We would be offering it.

          13                  THE COURT:     Okay.   Is there an objection to the whole

          14      transcript coming in?       Does anyone object to it?

          15                  MR. IOVIENO:    I would object to the transcript coming

          16      in?   It's the first time I've heard that the tapes weren't

          17      going in.    So if the tapes don't go in, I don't know how the

          18      transcript is coming in, so I object to the transcripts.

          19                  MS. LAWRENCE:     The tapes are the evidence of the --

11:27AM   20                  THE COURT:     Because the tapes are in Spanish, they

          21      aren't normally the evidence English transcription is.            You can

          22      offer it.    I mean, it's relevant, again, for the purpose of

          23      proving that it's wrong, as we're doing here, but I don't know

          24      that we need to clutter the record with 30 disks.

          25                  MR. IOVIENO:    Doesn't the transcript have to interpret
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           1      something that's in evidence?

           2                THE COURT:     Well, no.    I mean, like -- I guess it's a

           3      form of expert testimony.        It can be based on things that, you

           4      know, could be admissible, but you don't have to admit the

           5      underlying recordings.      If they were English, they'd come in.

           6                So let's do this, let's admit the disk, and I will

           7      admit, so far as the transcript as -- it's a particular

           8      sentence or phrase or paragraph or whatever that you're

           9      disputing and identify it and maybe put a piece of paper over

11:28AM   10      the rest of it until I admit the whole transcript.          I thought I

          11      heard someone saying you were objecting to the transcript as a

          12      whole?

          13                MR. IOVIENO:    Yes.

          14                THE COURT:     Okay.    Why don't we handle it that way.

          15      And just for the sake of convenience, I don't know if it's

          16      possible to block off the speaker's name or not.          If it's not,

          17      I'll have to give a limiting instruction at this point.

          18                MS. RODRIGUEZ:     Thank you, your Honor.

          19                (SIDEBAR CONFERENCE WAS CONCLUDED)

11:29AM   20                THE COURT:     Ladies and gentlemen, let me try to

          21      explain what we're doing here.        Counsel expects to

          22      cross-examine the witness about the Spanish translation.          I'm

          23      going to admit the underlying disk in evidence so that she can

          24      listen to it.

          25                What is the relevant disk?       What number?
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           1                  MS. RODRIGUEZ:   I believe it's 206, your Honor.

           2                  THE COURT:   All right.    Exhibit 206 is admitted.

           3                  (Exhibit No. 206 received into evidence.)

           4                  THE COURT:   And then as to this document, which is

           5      Exhibit 28, the government expects to introduce it later, but

           6      it's not yet in evidence.       I'm going to admit the apparently

           7      disputed translation portions in this case.         You're going to be

           8      shown what looks like a sentence or a paragraph or so and that

           9      piece.   So Exhibit 28, that portion of Exhibit 28 will be

11:30AM   10      admitted.

          11                  (Exhibit No. 28 received into evidence.)

          12                  MS. RODRIGUEZ:   Thank you, your Honor.

          13                  THE COURT:   Whenever you're ready, Ms. Rodriguez.

          14      Q.    All right.    So, Ms. Huacuja, as I said, we're going to

          15      focus on this specific paragraph, and I'm going to play you the

          16      corresponding audio recording.        You could just listen and

          17      follow along with me.

          18                  THE COURT:   We're not going to play the whole disk?

          19                  MS. LAWRENCE:    Objection, your Honor.

11:30AM   20                  THE COURT:   We're just --

          21                  MS. LAWRENCE:    As to the identification of this

          22      portion of the tape corresponding to that part of the

          23      transcript.    It was a foundation.

          24                  THE COURT:   Overruled.

          25                  (Video in Spanish played)
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           1      Q.    Ms. Huacuja.

           2      A.    Huacuja.

           3      Q.    Huacuja, I'm sorry.     Did you hear in that excerpt the

           4      following Spanish phrase, "enoce que decisiones van a tomar

           5      despues de que le peguen a desconton ay este loco?"

           6      A.    A desconton, I heard, yes.

           7      Q.    Did you hear "despues de que le peguen un desconton ay

           8      este loco"?

           9      A.    I'd have to listen again.

11:31AM   10      Q.    Would you like me to play it again for you?

          11      A.    Yes, please.

          12                 (Video played in Spanish)

          13      A.    I believe that's what you said.

          14      Q.    Okay.   And if we return to the translation that you

          15      prepared, you translated that phrase as, "So I don't know what

          16      decisions you will make after you give this dude the beating,"

          17      correct?

          18      A.    Correct.

          19      Q.    And just turning momentarily back to the Spanish phrase,

11:32AM   20      there's a word in there that's "peguen", correct?

          21      A.    I believe so, yes.

          22                 THE COURT:     Could you spell that for the record?

          23                 MS. RODRIGUEZ:    P-e-g-e-n.

          24                 THE WITNESS:    P-e-g-u-e-n.

          25                 THE COURT:     P-e-g-u-e-n is the word, correct?
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           1                  THE WITNESS:    Yes.

           2                  THE COURT:     All right.   Go ahead.

           3      Q.    And so in the translation that you prepared, the sentence,

           4      "So I don't know what decisions you will make after you give

           5      this dude the beating," the word "peguen", what is that

           6      translating to in the English?

           7      A.    The word "pegar" is usually to hit, it can also mean to

           8      "attach" or "glue."      And, again, it's colloquial Spanish, so

           9      can you tell me what your question is, again?

11:33AM   10      Q.    Sure.    So you mentioned that one of the translations would

          11      be the word "to hit"; is that correct?

          12      A.    It can be, yes.

          13      Q.    Okay.    So in this sentence that you translated from that

          14      audio recording, the sentence, "So I don't know what decisions

          15      you will make after you give this dude the beating," peguen, or

          16      as you said, which is a conjugated form of the verb pegar, what

          17      is that being translated into?

          18      A.    I'm not translating that word alone.          I'm translating it

          19      with the word that comes afterwards, which is "desconton,"

11:33AM   20      which is one of the words of art used in this case, and it was

          21      explained to me by Mr. Hernandez, which means a beating.

          22      Q.    "A beating."    So, "peguen," it's hitting in this sentence

          23      in the form of a beating; is that fair to say?

          24      A.    No.     In this sentence, I'd say is "give him a desconton,"

          25      so the "pegar un desconton" would be to -- pegar would be to
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           1      sort of give him -- that's not the part of the phrase that is

           2      the hitting part.

           3      Q.      Fair enough.

           4                     THE COURT:     Okay.   I'm sorry to do this to you, but

           5      can I ask you to spell the phrase that you're talking about

           6      here?

           7                     THE WITNESS:    Yes, your Honor, "peguen" is

           8      p-e-g-u-e-n, "desconton" would be d-e-s-c-o-n-t-o-n.

           9                     THE COURT:     Thank you.

11:34AM   10      Q.      All right.     I'd like to turn to another paragraph in this

          11      same transcript, if that's all right.

          12                     THE COURT:     All right.   This paragraph, which in the

          13      translation begins, "the problem is that" will be admitted,

          14      again, as a portion of Exhibit 28.

          15                     (A portion of Exhibit No. 28 received into evidence.)

          16      Q.      All right.     And do you see this paragraph?

          17      A.      Yes, I do.

          18      Q.      And you prepared this transcription, correct?

          19      A.      That's correct.

11:36AM   20      Q.      Okay.    I'd also like to now listen to the corresponding

          21      Spanish underlying this sentence.

          22                     (Video played in Spanish)

          23      Q.      During that recording, did you hear the phrase, the

          24      Spanish phrase, "habemos y hay muchos que aun pegado, homie"?

          25      A.      Yes.
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           1      Q.    And is it fair that you've translated that phrase into

           2      "There are many of us here who have killed, homie"?

           3      A.    Yes.

           4                   MR. LOPEZ:   Objection, your Honor.

           5                   THE COURT:   Overruled.

           6      Q.    So in that Spanish recording that we listened to, you

           7      confirmed that we heard the word "pegado", correct?

           8      A.    "Aun pegado" from the same verb "pegar".

           9      Q.    Yes, from the same verb "pegar".        And earlier you said

11:37AM   10      that "pegar" can be translated into, you know, hitting someone,

          11      "glue," being, you know, "adjacent to one another," but not the

          12      word "kill," correct?

          13      A.    That's correct.

          14      Q.    I'd like to turn to another translation.

          15                   THE COURT:   While she's getting set up, ladies and

          16      gentlemen, let me again just remind you.           It's up to you to

          17      decide whether to accept a particular version of the

          18      translation or when we get to that point, the identification of

          19      the speakers.     It's a decision that you are to make in the

11:38AM   20      context of deciding this case.         Go ahead.

          21      Q.    Do you recognize this transcript?

          22      A.    It appears to be one of the transcripts that was

          23      previously translated before I translated it.          It might be one

          24      that I worked on.

          25      Q.    Do you recall whether or not you worked on this
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           1      translation?

           2      A.    I'd to have see the transcript.

           3                   THE COURT:     Do you have the whole document?

           4                   MS. RODRIGUEZ:    I do.     May I approach?

           5                   THE COURT:     Yes.

           6                   THE WITNESS:    I don't recall this offhand.

           7                   MS. RODRIGUEZ:    No further questions, your Honor.

           8                   THE COURT:     Mr. Lopez.

           9                                    CROSS-EXAMINATION

          10      BY MR. LOPEZ:

          11      Q.    Good morning.

          12      A.    Good morning.

          13      Q.    I, as the others, have worked with you?

          14      A.    Yes, many times.

          15      Q.    Directing your attention to a transcript of an excerpt

          16      from January 25, 2014, at the bottom of page 3.

          17                   MR. LOPEZ:     Can I just show this to the witness?

          18      Q.    Do you see the highlighted portion there?

          19      A.    Yes.

11:42AM   20      Q.    And it's attributed to a particular speaker?

          21      A.    Yes.

          22      Q.    And I think you said that it was Mr. Hernandez who

          23      assisted you in identifying the speakers?

          24      A.    He didn't assist me in identifying, he identified.           I did

          25      not identify.
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           1      Q.    He's also known as Muerto?

           2      A.    That is his street name.

           3      Q.    And so he was the one that told you that the person

           4      identified at the bottom of page 3 of this transcript was the

           5      person identified, not Mr. Muerto?

           6      A.    I'm sorry.

           7      Q.    Do you follow me?     Muerto was the one that told you this

           8      speaker wasn't him?

           9      A.    He told me who the speaker was.

11:43AM   10      Q.    And he told you it wasn't him?

          11      A.    Well, it wasn't -- if it was that person, then it wasn't

          12      another person.

          13      Q.    Fair enough.    Now, there's also a transcript from

          14      January the 8th that we expect to see.         And on page --

          15                   THE COURT:   I'm sorry, January the 8th.     What year?

          16                   MR. LOPEZ:   I'm sorry, your Honor, 2016.

          17                   THE COURT:   2016.

          18      Q.    And on page 23 of that transcript, there is a reference to

          19      a phrase, "Welcome to the Mara," do you see that?

11:43AM   20      A.    Yes.

          21      Q.    Now, originally when the indictment came down in this

          22      case, do you know who that phrase was attributed to?

          23      A.    No.

          24      Q.    You don't.     At some point in November of last year, were

          25      you aware that a similar transcript attributed this to someone
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           1      other than the person identified in this document?

           2      A.    I believe so.

           3      Q.    And it wasn't the same person that's identified here?

           4      A.    I'd have to see both transcripts.

           5      Q.    What I'm trying to get at, at some point the person who

           6      was identified in the transcript that was used during the

           7      November trial, if you know, was changed to the person who's

           8      identified here?

           9      A.    I don't know.

11:44AM   10      Q.    You don't know.     Then for this trial, yet a third person

          11      was identified?

          12      A.    Possibly.    You know, I didn't memorize the transcripts.

          13                 MR. LOPEZ:    No further questions, your Honor.

          14                 THE COURT:    Redirect, Ms. Lawrence.

          15                               REDIRECT EXAMINATION

          16      BY MS. LAWRENCE:

          17      Q.    You were asked on cross-examination a little bit about

          18      your process and you were asked about different drafts?

          19      A.    Correct.

11:45AM   20      Q.    Again, can you just explain to the jury how you go through

          21      the process of preparing a transcript from a recording, just in

          22      simple terms?

          23      A.    I listen to the recording, and I write the -- I transcribe

          24      it into English.

          25      Q.    And you make changes as you go as you listen to the
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           1      recording repeated times?

           2      A.    Yes.

           3      Q.    Okay.    And you also talked about you testified that you

           4      did not identify the speakers?

           5      A.    Correct.

           6      Q.    And that one source of identification that appears on the

           7      transcripts you create is information from Jose

           8      Hernandez-Miguel?

           9      A.    Yes.

11:45AM   10      Q.    I believe you also testified on direct that there was

          11      another source of information for the identity of the speakers?

          12      A.    Yes, I could be -- I could have received the information

          13      along with a recording of who the speakers are, but I don't

          14      know exactly who identified those.

          15      Q.    I'd like to show you.

          16                   MS. LAWRENCE:   This is just for the witness, please.

          17      This is the excerpt of Exhibit 28 that was admitted into

          18      evidence.     The jury can see this, too, correct?       It's been

          19      admitted, this particular piece?

11:46AM   20                   THE COURT:   Yes.

          21                   MS. LAWRENCE:   Thank you.

          22      Q.    You were asked about the phrase in English, "There are

          23      many of us here who have killed, homie"?

          24      A.    Yes.

          25      Q.    And you were asked about the meaning of the word "peguen,"
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           1      the Spanish?

           2      A.    Peguen, of the word here, yes.

           3      Q.    So why did you translate this particular Spanish phrase

           4      into this English phrase?

           5      A.    That is one of the words that is used by this group of

           6      people to mean either a hit or a murder, a kill.

           7      Q.    How do you know that?

           8      A.    Because I was told by Mr. Hernandez.

           9                 MS. LAWRENCE:    One minute, your Honor.      Nothing

11:47AM   10      further, your Honor.

          11                 THE COURT:    Recross.

          12                                 RECROSS-EXAMINATION

          13      BY MR. IOVIENO:

          14      Q.    With respect to certain phrases now, you relied on Jose

          15      Miguel Hernandez specifically with this phrase to tell you what

          16      a word meant, correct?

          17      A.    Not only on him, because I have in the last three years

          18      become familiar through talking with different people involved

          19      in this case, so I have acquired a vocabulary in the sense for

11:48AM   20      this particular case.

          21      Q.    From other people involved in this case, correct?

          22      A.    Well, you know, I think you'd call it experience.            From

          23      working on something, you learn about it, and you learn the

          24      words that are used.      I don't remember specifically where I

          25      first heard the word, meaning -- with this meaning, but
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           1      including Mr. Hernandez, yes.

           2      Q.    Were there other people who gave you that information

           3      besides Mr. Hernandez?

           4      A.    Nobody that comes to mind at this moment.

           5      Q.    And you indicated that you relied on Mr. Hernandez, Jose

           6      Miguel-Hernandez to identify the speakers, but you also relied

           7      on unidentified people who had made other draft transcripts

           8      that identified some speakers, too, also?

           9      A.    For the final draft, I relied only on Mr. Hernandez to

11:49AM   10      identify.

          11      Q.    For the other drafts that you incorporated into the final

          12      draft, you relied on other people's interpretation in

          13      identification of speakers, correct?

          14      A.    I may have begun with a certain identification, but if

          15      Mr. Hernandez identified it differently, I changed -- if it was

          16      different, I changed it.

          17      Q.    So you relied on what Mr. Hernandez gave you even to

          18      change what other people had given you, correct?

          19      A.    Well, who do you mean by other people?        Do you mean the

11:49AM   20      previous identifications in some of -- in the three or four

          21      drafts that I saw?

          22      Q.    Yes.

          23      A.    Yes.

          24      Q.    Thank you.

          25                   MR. LOPEZ:   Can I just have one question, your Honor?
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           1                   THE COURT:    Yes.

           2                                  RECROSS-EXAMINATION

           3      BY MR. LOPEZ:

           4      Q.    You never relied on CW-1; is that fair to say?

           5      A.    Yes.

           6                   MR. LOPEZ:    Thank you.

           7                   THE COURT:    You may step down now.    Thank you.    And we

           8      may as well take our break now.

           9                   THE CLERK:    All rise.

11:50AM   10                   (JURORS EXITED THE COURTROOM.)

          11                   (A recess was taken.)

          12                   THE CLERK:    All rise.

          13                   THE COURT:    Can I see counsel quickly at sidebar.

          14                   (SEALED SIDEBAR RELATING TO A JUROR).

          15                   (Exhibit D was marked for identification.)

          16                   THE COURT:    We need to swear in Ms. Huacuja as a

          17      translator, which is different from being sworn in as a

          18      witness.

          19                   (The interpreter was sworn.)

12:07PM   20                   JOSE HERNANDEZ-MIGUEL, having been duly sworn by the

          21      Clerk, testified through the Interpreter as follows:

          22                   MR. POHL:    May I, your Honor?

          23                   THE COURT:    Yes.

          24                   MR. POHL:    Thank you.

          25
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           1                                   DIRECT EXAMINATION

           2      BY MR. POHL:

           3      Q.      Good afternoon.

           4      A.      Good afternoon.

           5      Q.      What is your name?

           6      A.      Jose Hernandez-Miguel.

           7      Q.      How old are you?

           8      A.      Thirty.

           9      Q.      You appear here today in court in an orange jumpsuit,

12:07PM   10      correct?

          11      A.      Yes.

          12      Q.      In 2016, were you charged in this court?

          13      A.      Yes.

          14      Q.      And did you plead guilty to the crimes you were charged

          15      with?

          16      A.      Yes.

          17      Q.      And at the time you pleaded guilty, did you have a plea

          18      agreement?

          19      A.      Yes.

12:08PM   20                     MR. POHL:   For the witness, Madam Clerk.   Thank you.

          21      Q.      Do you see the document in front of you,

          22      Mr. Hernandez-Miguel?

          23      A.      Yes.

          24      Q.      Okay.    Have you reviewed that document before your

          25      testimony here today?
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           1      A.    Yes.

           2      Q.    And I'm going to start with the first paragraph here.         To

           3      make it easier for you to read, I'm going to blow it up I think

           4      a little bit.     And this is paragraph 1 -- is this your plea

           5      agreement?

           6      A.    Yes.

           7      Q.    Okay.    And does it list the crimes to which you pleaded

           8      guilty?

           9      A.    Yes.

12:09PM   10      Q.    And --

          11                   THE COURT:    Excuse me, are you going to offer this?

          12                   MR. POHL:    Yes, your Honor.

          13                   THE COURT:    What number?

          14                   MR. POHL:    It would be 49.1, and the corresponding

          15      cooperation agreement will be 49.2.          If there's no objection,

          16      I'll just move these into evidence now.

          17                   THE COURT:    We'll admit them, 49.1 and 49.2.

          18                   (Exhibit No. 49.1 and 49.2 received into evidence.)

          19                   THE COURT:    Thank you, your Honor.

12:09PM   20                   MR. POHL:    Thank you.   All right.   Madame Clerk, for

          21      the jury.

          22      Q.    All right.    This is part of your plea agreement, correct?

          23      A.    Yes.

          24      Q.    And it sets out the crimes to which you've pleaded guilty,

          25      correct?
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 114 of 141
                                                                                     6-114




           1      A.    Yes.

           2      Q.    And there are three crimes?

           3      A.    Yes.

           4      Q.    And one of them is racketeering conspiracy?

           5      A.    Yes.

           6      Q.    One of them is conspiracy to distribute 5 kilograms or

           7      more of cocaine?

           8      A.    Yes.

           9      Q.    And the last one is conspiracy to distribute cocaine and

12:10PM   10      cocaine base, sometimes called "crack cocaine"?

          11      A.    Yes.

          12      Q.    Okay.   And there's a final portion of the plea

          13      agreement -- of this section of the plea agreement below it,

          14      correct?

          15      A.    Yes.

          16      Q.    As part of your plea in the racketeering conspiracy, you

          17      admitted that you committed a violent crime, correct?

          18      A.    Yes.

          19      Q.    And what was that?

12:11PM   20      A.    That's participating in organized crime.

          21      Q.    And while you were participating in that, did you commit a

          22      stabbing?

          23      A.    Yes.

          24      Q.    Okay.   All right.    So I'll quickly go through this next

          25      paragraph, Mr. Hernandez-Miguel.        It talks about the maximum
               Case 1:15-cr-10338-FDS Document 2555 Filed 06/22/18 Page 115 of 141
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           1      penalty that you can get for the crimes you pleaded guilty to,

           2      correct?

           3      A.    Yes.

           4      Q.    And for racketeering conspiracy, you can go to prison for

           5      20 years, correct?

           6      A.    Yes.

           7      Q.    Okay.    And for the conspiracy to distribute 5 kilograms or

           8      more of cocaine, you could go to prison for the rest of your

           9      life, correct?

12:12PM   10      A.    Yes.

          11      Q.    And at a minimum, you could serve -- you have to serve --

          12      you would be required to serve 10 years in prison?

          13      A.    Yes.

          14      Q.    And for the conspiracy to distribute cocaine and crack

          15      cocaine, you could again be sentenced to prison for 20 years?

          16      A.    Yes.

          17      Q.    Okay.    I'm going to show you the last two pages of this

          18      part of your plea agreement.       This is the signature page,

          19      correct?     This is a signature page, correct?

12:13PM   20      A.    Yes.

          21      Q.    Where the government lawyer signed, correct?

          22      A.    Yes.

          23      Q.    And that's my signature on the bottom, correct?

          24      A.    Yes.

          25      Q.    Okay.    And the next page is the agreement by you, correct?
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           1      A.    Yes.

           2      Q.    All right.    And is there a place where you signed to

           3      indicate that you understood what you were agreeing to when you

           4      signed the plea agreement?

           5      A.    Yes.

           6      Q.    Okay.   And is your signature on that document?

           7      A.    Yes.

           8      Q.    And under that signature is a space for your lawyer?

           9      A.    Yes.

12:14PM   10      Q.    And that was signed on October 10, 2016?

          11      A.    Yes.

          12      Q.    Okay.   In addition to the plea agreement, it sets out the

          13      charges against you, correct?       You had a second agreement,

          14      correct?

          15      A.    Yes.

          16      Q.    All right.    Mr. Hernandez-Miguel, have you reviewed

          17      this -- this is, for the record, 49.2.         Have you reviewed this

          18      document before you testified here today?

          19      A.    Yes.

12:15PM   20      Q.    Okay.   And I'm going to just skip all the way to the end.

          21      Again, there's a signature lines for the government lawyers to

          22      sign, correct?

          23      A.    Yes.

          24      Q.    And then the final page, there's again a space for you to

          25      sign, correct?
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           1      A.    Yes.

           2      Q.    Okay.    And Mr. Hernandez-Miguel, can you, in your own

           3      words, explain what you are required to do under the

           4      cooperation agreement that you signed?

           5      A.    What I understand from this paper is that I have to speak

           6      only the truth.

           7      Q.    Okay.    You've pleaded guilty in this case, correct?

           8      A.    Yes.

           9      Q.    All right.    Have you been sentenced yet?

12:16PM   10      A.    No.

          11      Q.    Okay.    And do you know, as you sit here today, what

          12      sentence you will get for the crimes you've pleaded guilty to?

          13      A.    Yes.

          14      Q.    Okay.    Well, you haven't been sentenced yet, correct?

          15                   MR. MURPHY:    Objection, your Honor.

          16                   THE COURT:    Overruled.

          17      A.    No.

          18      Q.    Okay.    And do you know when you are -- do you have a date,

          19      do you know when that sentencing is going to happen?

12:16PM   20      A.    Yes.

          21      Q.    Okay.    Well, Mr. Hernandez-Miguel, when you said that you

          22      have to tell the truth, okay --

          23      A.    Yes.

          24      Q.    -- prior to your testimony here today, have you met with

          25      agents?
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           1      A.    Yes.

           2      Q.    Okay.   And have they asked you questions?

           3      A.    Yes.

           4      Q.    Okay.   And have you reviewed recordings?

           5      A.    Yes.

           6      Q.    And audio recordings?

           7      A.    Yes.

           8      Q.    And video recordings?

           9      A.    Yes.

12:17PM   10      Q.    Mr. Hernandez-Miguel, have you ever heard of the

          11      organization known as "La Mara Salvatrucha" or "MS-13"?

          12      A.    Yes.

          13      Q.    Okay.   Are you a member of MS-13?

          14      A.    Yes.

          15      Q.    Where were you born?

          16      A.    In El Salvador.

          17      Q.    How long did you -- well, when did you first come to the

          18      United States?

          19      A.    In 2001.

12:18PM   20      Q.    And where did you grow up in El Salvador?

          21      A.    La Union.

          22      Q.    And who did you live with?

          23      A.    With my parents.

          24      Q.    Okay.   Do you have any brothers and sisters?

          25      A.    Yes.
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           1      Q.    How many?

           2      A.    Nine.

           3      Q.    Did you ever hear of MS-13 when you lived in El Salvador?

           4      A.    Yes.

           5      Q.    How did you hear about MS-13 in El Salvador?

           6      A.    In the area where I lived, there were many members of MS.

           7      So in the area where we lived, there were a lot of members, and

           8      that's how I met them.

           9      Q.    So, how old were you when you first met members of MS-13?

12:20PM   10      A.    About 10 years ago.

          11      Q.    Did you join MS-13 when you were in El Salvador?

          12      A.    No.

          13      Q.    Okay.   How old were you when you first came to the

          14      United States?

          15      A.    Fourteen years old.

          16      Q.    How did you come to the United States?

          17      A.    I came with a coyote.

          18      Q.    Okay.   What is a coyote?

          19      A.    Someone whom you pay who knows the route well and you pay

12:20PM   20      them to bring you to this country.

          21      Q.    So how did you -- tell the jury how you did that.            How did

          22      you leave El Salvador and how did you travel to the

          23      United States?

          24      A.    When I was 14 years old, an uncle of mine came to

          25      El Salvador to travel, and he told me that he would help me in
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           1      order for me to help my family, to help my father.

           2      Q.    Let me interrupt you.      Your uncle, did he live in the

           3      United States at the time he came to visit you in El Salvador?

           4      A.    Yes.

           5      Q.    Okay.   So your uncle came to visit?

           6      A.    Yes.

           7      Q.    And after that visit, you decided to come to the

           8      United States?

           9      A.    Yes.

12:21PM   10      Q.    With the coyote?

          11      A.    Yes.

          12      Q.    Okay.   How did you get from El Salvador to the

          13      United States when you came at age 14?

          14      A.    My uncle paid for a coyote.       He paid half in El Salvador

          15      and the other half when I was in L.A.

          16      Q.    Where did you cross into the United States?

          17      A.    Through Arizona.

          18      Q.    Did you walk across?

          19      A.    Yes.

12:22PM   20      Q.    And after you crossed into Arizona, where did you go?

          21      A.    I reached L.A., and my uncle picked me up in L.A.            My

          22      uncle lived at a place called Seaside in California.           It's near

          23      Salinas.

          24      Q.    And is that where you settled initially?

          25      A.    Yes.
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           1      Q.      Did you go to school?

           2      A.      Yes.

           3      Q.      Where did you go to school?

           4      A.      At the high school in Seaside.

           5      Q.      What happened in high school?

           6      A.      When I arrived, I had two jobs, when I arrived at Seaside.

           7      After that, a friend that played soccer with me asked me how

           8      old I was.      I told him I was 15, and he told me you have to go

           9      to high school.       And he said if you ever want to go to high

12:24PM   10      school, call me, I will take responsibility for you.           So one

          11      day I called him that I wanted to go to school, and he took

          12      charge, and that's why I went to high school.

          13      Q.      Okay.   While you were in high school, okay, would it be

          14      fair to say that you got in fights while you were in high

          15      school?

          16      A.      Yes, when I started high school, I met the Surenos.

          17      Q.      Okay.   What are the Surenos?

          18      A.      It's an L.A. gang, and they are called Surenos 13.         I met

          19      about four of them, and they represent the blue, the color

12:25PM   20      blue.    So I started joining them, and it was through them that

          21      I met a member of MS because one day I went out to smoke with

          22      them, and we used to fight the Nortenos, and one day, through a

          23      girl, he told me to go with him to smoke at a dude's house who

          24      was from MS.

          25      Q.      Smoke what?
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           1      A.    Marijuana.

           2      Q.    So your friends that were in the Surenos took you to a

           3      house, and the person who lived in the house was an MS-13?

           4      A.    Yes.

           5      Q.    Okay.    Who was that?

           6      A.    But I went with a girl to the member's house of MS-13.

           7      Q.    Okay.    All right.   Who did you meet at that house?

           8      A.    Curly.

           9      Q.    Okay.    Who was Curly?

12:26PM   10      A.    He was the word for a clique called Eastside Loco

          11      Salvatrucha.

          12                   THE INTERPRETER:   I'm sorry, not Eastside, Seaside

          13      Loco Salvatrucha.

          14      Q.    Okay.    You said that he was the word?

          15      A.    Yes.

          16      Q.    What does that mean, to be the word?

          17      A.    He's the -- palabrero is the person that runs the clique

          18      because in the clique there's first word and second word.          The

          19      first word is in charge of bringing together all the members of

12:27PM   20      the clique for a meeting, for meetings.

          21      Q.    What is a clique?

          22      A.    Cliques are small groups of MS-13.

          23      Q.    And the person that you met, Curly, was the first word of

          24      a particular clique?

          25      A.    Yes.
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           1      Q.    Okay.   And it was called Seaside?

           2      A.    Yes.

           3      Q.    All right.    Once you met Curly, did you begin spending

           4      time with members of MS-13?

           5      A.    Yes.

           6      Q.    What kind of things did you do?

           7      A.    When I first met Curly, he asked me who I hung out with,

           8      and I told him I hung out with Surenos in the high school, and

           9      he said why don't you hang out with the dudes from MS-13, and I

12:29PM   10      told him I hadn't met anyone in that area, so he told me that

          11      if I wanted to, I could start hanging out with them, and that's

          12      when I started hanging out with the MS.

          13      Q.    Okay.   So what kinds of things would you do when you hung

          14      out with the members of the Seaside clique of MS-13?

          15      A.    Fights against Nortenos, sometimes stabbing.         That's what

          16      the MS-13 does is kill rivals.

          17      Q.    As you were hanging around and meeting MS-13 members, they

          18      taught you about what it means to be an MS-13?

          19      A.    Yes.

12:30PM   20      Q.    Did they teach you -- they taught you about cliques,

          21      correct?

          22      A.    Yes.

          23      Q.    As you were hanging out, did you meet members of other

          24      cliques?

          25      A.    In Seaside, that was the only clique.
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           1      Q.    Okay.    What did they teach you about how you could become

           2      a member of MS-13?

           3      A.    That one has to learn, that one has to gain the respect of

           4      the homies.

           5      Q.    Of the homies, is that what you said?

           6      A.    Yes, the people who are already jumped in.

           7      Q.    Okay.    So you said three things there.      I'm going to ask

           8      you about all three of them.       First of all, you said the word

           9      "homies."     Okay.   Is that a shorthand way of saying homeboy?

12:31PM   10      A.    Yes.

          11      Q.    What is a homeboy?

          12      A.    A homeboy is someone who belongs to MS-13 that's already

          13      been jumped.

          14      Q.    Okay.    So, how do you become a homeboy in MS-13?

          15                   MR. MURPHY:    Objection, your Honor, time frame.

          16                   THE COURT:    Well, I guess we'll start with what he

          17      learned or understood as to the Seaside clique during this time

          18      period.

          19                   THE INTERPRETER:    Could you repeat the question?

12:32PM   20      Q.    Let me ask you a better question.        You heard -- you used

          21      the term "jumped" or "jumped in."        What does that mean to you?

          22      A.    To "jump" or "jump in" is when one already has the respect

          23      of the clique and they jump you in.        They make a circle, and

          24      three of them hit you while the runner is counting for 13

          25      seconds.
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           1      Q.    And then you used the term "respect."        What things does

           2      someone have to do to earn that respect, to become a homeboy in

           3      MS-13?

           4                   MR. MURPHY:    Objection, your Honor, same objection.

           5      Time frame.

           6                   THE COURT:    I guess let's start by putting a time

           7      frame on that.

           8                   MR. POHL:    Yes, your Honor.

           9      Q.    This is -- well, you came to the United States in 2001?

12:33PM   10      A.    Yes.

          11      Q.    Okay.    All right.    So how many years had you been in the

          12      United States when you first began to associate with MS-13?

          13      A.    About two years.

          14      Q.    Okay.    And so for now, the questions I'm asking you are

          15      what you were learning at the time that you were first getting

          16      to know people in MS-13.       So at the time that you were learning

          17      about MS-13 in California, you were told that you had to earn

          18      respect in order to become a member of MS-13; is that correct?

          19      A.    Yes.

12:34PM   20      Q.    What kinds of things did you have to do to gain the

          21      MS-13's respect before you could become a member?

          22      A.    To go out and look for rivals, Nortenos, fight, fight or

          23      stab them.

          24      Q.    Did somebody tell -- well, how long did you spend time

          25      with the members of the clique -- well, let me ask you this.
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           1      Did you become a member of MS-13 in the Seaside clique in

           2      California?

           3      A.    Yes.

           4      Q.    So how long did you spend getting to know the members of

           5      MS-13 before you became a member?

           6      A.    About six months.

           7      Q.    All right.    Did you do anything during that time, those

           8      six months, to earn MS-13's respect?

           9      A.    Yes.

12:36PM   10      Q.    What was that?

          11      A.    Stab, fights.

          12      Q.    Let's talk about the stabbing.       Can you tell the jury

          13      about the stabbing you committed while you were in this period

          14      of six months before you became a member of MS-13?

          15      A.    We would go out with other dudes walking to look for

          16      Nortenos.    Sometimes we'd go out to the liquor stores on the

          17      main streets and stand there, and we would grab them right

          18      there and fight with them because that's the mission of the

          19      dudes of MS, which is to kill or stab rival members.

12:37PM   20      Q.    Why?    Why is that the mission?

          21      A.    Because MS want to be the only one.        It doesn't want any

          22      rivals.    It wants to control everything.

          23      Q.    All right.    You committed a stabbing while you were

          24      getting to know the members of the MS-13 clique in California,

          25      correct?
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           1      A.    Yes.

           2      Q.    Okay.    And what did you use to commit the stabbing?

           3      A.    It was a knife that had three blades.

           4      Q.    Okay.    So you did something with your hand there.          Can you

           5      hold it up for me?     What is it that you did?

           6      A.    It was like this. (Indicating)

           7      Q.    And who did you stab?

           8      A.    A Norteno.

           9      Q.    And who were you with when you stabbed them?

12:38PM   10      A.    With Curly, a Sureno, and Curly's girlfriend.

          11      Q.    After that stabbing, what happened to you with the Seaside

          12      clique?

          13      A.    Curly said to me that I had already now done something for

          14      MS-13 and that I had some respect and that since I had now done

          15      something for MS, if I wanted to, I could be jumped in, and I

          16      said yes.     So I was taken to a park and they formed a circle,

          17      they put me in the middle, and I started getting a beating

          18      there and while somebody counted to 13.         And then after the

          19      counting is over, everybody throws up their hand to flash the

12:40PM   20      Mara in joy.

          21      Q.    What do you mean by that, that everybody holds up their

          22      hands?    How do they hold up their hands?

          23      A.    Flashing your hand up, flashing the MS-13 sign, the M and

          24      the S.

          25      Q.    Okay.    So you did it while you were talking.       Can you do
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           1      it again when you're not talking.        What is it exactly that you

           2      do to signify that you're an MS?

           3      A.    Like this (indicating).      This is the M and this is the S.

           4      Q.    After you became a member of MS-13, did you come to visit

           5      Boston?

           6      A.    Yes.

           7      Q.    Why did you come -- maybe I shouldn't have said Boston.

           8      Why did you come to Massachusetts?

           9      A.    I had a sister in Massachusetts and her husband had passed

12:41PM   10      away and she asked me to come here.

          11      Q.    Where did she live?

          12      A.    In East Boston.

          13      Q.    And do you remember when approximately you first came to

          14      visit your sister in East Boston?

          15      A.    Around 2004.

          16      Q.    Okay.   And before you left to come to Boston, did you talk

          17      about that with Curly?

          18      A.    Yes, I spoke to Curly, and I told him that I was planning

          19      to come to Boston because I had a sister here, and Curly told

12:42PM   20      me that he had been in Boston and that he knew the dudes from

          21      the MS here and that if I came to Boston, he was going to put

          22      me in touch with the members of MS so that I could hang out

          23      with them.

          24      Q.    Okay.   Did he do that?

          25      A.    Yes.
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           1      Q.    How did he do that?

           2                 MR. MURPHY:    Objection, your Honor.

           3                 THE COURT:    Let me see counsel quickly.

           4                 (THE FOLLOWING OCCURRED AT SIDEBAR:)

           5                 THE COURT:    What answer do you expect to elicit?

           6                 MR. POHL:    Curly put him in touch with Casper and then

           7      he met Casper when he came to Boston.

           8                 MR. MURPHY:    Your Honor, this is really merely to make

           9      sure we are not waiving our earlier Petroziello-type objections

12:43PM   10      since I don't know that we've heard of Curly before.           We've

          11      heard of him in discovery.

          12                 MR. POHL:    But not during the trial.

          13                 THE COURT:    Yes.   Mr. Lopez.

          14                 MR. LOPEZ:    I would also ask that the witness just

          15      answer the question asked and not continue to speak and add

          16      stuff about what Curly told him.        I mean, we can move to

          17      strike, but I know it's background, but there's a lot of

          18      hearsay coupled in.

          19                 THE COURT:    I'm not sure there's too much of it, but

12:43PM   20      you're going to have to move to strike.         I guess -- I mean, I'm

          21      sure Mr. Pohl's ability to limit this is limited, you know, so

          22      we'll take it question and answer at a time.          We'll try to

          23      control it as best we can as with any witness.          And if you

          24      think it's something really out of line, you'll have to move to

          25      strike, okay?     Obviously, if you think he's about to blurt out
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           1      hearsay, you can interrupt him for that purpose with an

           2      objection.

           3                   MR. LOPEZ:    Mu point is simply that there's no

           4      allegation that Curly is part of this conspiracy.            His

           5      statements are not part of --

           6                   THE COURT:    Well, I'm assuming that there's no Curly,

           7      because of the Petroziello statements.

           8                   MR. POHL:    Correct.

           9                   THE COURT:    So I don't expect that to be elicited.

12:44PM   10                   MR. LOPEZ:    All right.   Okay.   Thank you.

          11                   (SIDEBAR CONFERENCE WAS CONCLUDED)

          12                   THE COURT:    Why don't you put the question to the

          13      witness again.

          14      Q.    So, I think that the question was after you told Curly you

          15      were coming to Boston and he told you that he knew people in

          16      the Boston area there in MS, did Curly put you in touch with

          17      any MS members in Boston?

          18      A.    Yes.

          19      Q.    Okay.    And who did he put you in touch with?

12:45PM   20      A.    With Casper.

          21      Q.    When did you meet Casper?

          22      A.    I met him about two weeks after I arrived in Boston.

          23      Q.    And where did you meet him?

          24      A.    I lived on Eutaw Street in East Boston, and he came by

          25      there to pick me up.
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           1                   MR. POHL:    And for the witness.

           2      A.    That's Casper.

           3      Q.    This is -- for the record, I'm showing the witness

           4      Exhibit 2.     That's Casper?

           5      A.    Yes.

           6                   MR. POHL:    I'd offer this, your Honor.

           7                   THE COURT:    It's already in.

           8                   MR. POHL:    All right.

           9      Q.    When Casper came to pick you up, what do you remember

12:46PM   10      about the first time you met Casper?

          11      A.    Well, Curly had already told me that Casper was a homeboy,

          12      so he came by --

          13                   MR. MURPHY:    Objection, your Honor.

          14                   THE COURT:    I'm going to strike the thing about what

          15      Curly said.     Let's start over.

          16                   MR. POHL:    Sure.

          17      Q.    And you met with -- well, you got in the car with Casper?

          18      A.    Yes.

          19      Q.    And where did you go?

12:46PM   20      A.    We went to hang out in Lynn, but since I didn't know my

          21      way around, I don't remember which house we went to, but I do

          22      remember that there were other dudes from MS there.

          23      Q.    Like who?

          24      A.    Playa was there, there were other dudes as well, like

          25      Rebelde (ph).     There was a dude that they called Tecolote, (ph)
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           1      and there were more there, but I don't recall.

           2      Q.     Can I put up Exhibit 3, which has already been admitted.

           3      Mr. Hernandez-Miguel, I'm putting up Exhibit 3.          Do you

           4      recognize the person in that photograph?

           5      A.     Yes, Playa.

           6      Q.     All right.    So that -- what did you do that day when you

           7      met Casper and Playa?

           8      A.     We went there and we were drinking there.

           9      Q.     When you met Casper and Playa and the other people that

12:48PM   10      you met that day, is there a way that you, as a member of

          11      MS-13, would introduce yourself to other members?

          12      A.     Yes.

          13      Q.     What would you say?    Well, strike that.      What did you say?

          14      A.     Well, when you arrive somewhere where there are other

          15      dudes from MS-13, you flash the MS sign, and you say the name

          16      of the clique you belong to, and you also say what rank you

          17      are.

          18      Q.     Okay.

          19      A.     I'm sorry, and you also say your street name.

12:49PM   20      Q.     Okay.    So did you have a street name at that time?

          21      A.     Yes.

          22      Q.     Okay.    Did you get it at the time that you were -- or did

          23      you being to use it after you were jumped in?

          24      A.     That name you are given after you become a homeboy.

          25      Q.     Right.    And what was the name that you used after you
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           1      became a homeboy with MS-13?

           2      A.    Muerto.

           3      Q.    So, all right, let's jump back to Boston now.          So when you

           4      met Casper, Playa, the other people you talked about, you

           5      introduced yourself?

           6      A.    Yes.

           7      Q.    And how did you introduce yourself?

           8      A.    That I was Muerto from the Seaside Locos in California.

           9      Q.    Okay.    And I think you said, in your answer before, you

12:50PM   10      said something about your rank or your position.          What did you

          11      say to that?

          12      A.    Yes.

          13      Q.    What did you say?

          14      A.    Homeboy.

          15      Q.    Okay.    And did you have that conversation with Casper?

          16      A.    While we were in the car.

          17      Q.    What did Casper say to you when you -- after you

          18      introduced yourself?

          19      A.    He was the runner of the Eastsides.

12:51PM   20      Q.    After he drove you to the house in Lynn and you met

          21      Playa -- excuse me after you met Mr. Guzman, you introduced

          22      yourself to -- you introduced yourself?

          23      A.    Yes.

          24      Q.    The same way?

          25      A.    Yes.
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           1      Q.      What did Mr. Guzman say to you after you introduced

           2      yourself?

           3      A.      Well, one flashes MS and identifies the clique.        At first,

           4      he didn't tell me that he was a runner.

           5      Q.      The first time you met him, how did he introduce himself?

           6      A.      As a homeboy.

           7      Q.      So, Mr. Hernandez-Miguel, how long did you say in Boston

           8      that first time that you met Casper and Playa?

           9      A.      About six or seven months, something like that.

12:52PM   10      Q.      And after that time, where did you go?

          11      A.      I went back to California.

          12      Q.      Eventually -- would I be correct that you came back and

          13      forth from California to Boston a couple of times?

          14                     MR. MURPHY:    Objection, leading.

          15                     THE COURT:    Sustained.

          16      Q.      Well, at some point, Mr. Hernandez Miguel did you move to

          17      Massachusetts permanently?

          18      A.      Yes.

          19      Q.      About when was that?

12:53PM   20      A.      Around 2007.

          21      Q.      When you came to Massachusetts in 2007, where did you

          22      live?

          23      A.      In East Boston.

          24      Q.      Okay.    And did you spend -- well, when you moved back in

          25      2007, what did you do?         Well, who did you -- did you see Casper
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           1      and Playa when you came back in 2007?

           2      A.      Not in the first few days because I went to hang out with

           3      some dudes in Somerville, so I was hanging out with the dudes

           4      in Somerville, and about six months later I came and met with

           5      them.    I started to see them again in Everett at Tecolote's

           6      house.

           7      Q.      And when you began to see them again six months after you

           8      came back to Massachusetts to stay, did you have a conversation

           9      with Casper about his clique?

12:54PM   10                     THE INTERPRETER:   I'm sorry.   Can you repeat the last

          11      part of the question?

          12      Q.      And his clique.

          13      A.      Yes.

          14      Q.      Okay.    And what did Casper -- what did you and Casper talk

          15      about concerning his clique, concerning Casper's clique?

          16      A.      Since I was hanging out with the dudes in Somerville and

          17      then I came to hang out at Tecolote's, one day Casper said why

          18      don't you run with the Eastside clique since my clique was in

          19      California and to take the word with Eastside.

12:55PM   20      Q.      What did you say to that?

          21      A.      I said yes.

          22      Q.      And through -- after that conversation, did you begin to

          23      associate yourself with the Eastside clique?

          24      A.      Yes.

          25      Q.      Okay.    Now, you were jumped into MS-13 in Seaside in
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           1      California, correct?

           2      A.    Yes.

           3      Q.    Yet you were allowed to associate with Eastside here?

           4                   MR. MURPHY:    Objection, your Honor.     Leading.

           5                   THE COURT:    Sustained.

           6      Q.    Well, when Casper brought you into the -- well, when

           7      Casper suggested that you start to hand out with Eastside, did

           8      you meet other members of the clique?

           9      A.    Yes, I saw Playa again.

12:56PM   10      Q.    Okay.    And what would you do with Casper and Playa?

          11      A.    Well, Casper was the runner and at that point Playa

          12      introduced as second.

          13      Q.    Did you meet other members of the clique through Casper

          14      and Playa?

          15      A.    Yes.

          16      Q.    I'm putting up Exhibit 5.         Who is that?

          17      A.    Lobo.

          18      Q.    Putting up Exhibit 4, who is that?

          19      A.    CheChe.

12:57PM   20      Q.    Okay.    All right.    I'm going to show you a series of other

          21      pictures starting with 7 for the witness.

          22      A.    Tigre.

          23      Q.    8?

          24      A.    Brujo.

          25      Q.    9?
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           1      A.    Animal.

           2      Q.    10?

           3      A.    Vincentino.

           4      Q.    And 11.

           5      A.    Caballo.

           6      Q.    I want to show you one more picture, 12.

           7      A.    Danger.

           8      Q.    Okay.    How do you know those people?      How do you know

           9      Tigre, Brujo, Animal, Vincentino, Caballo, and Danger?

12:58PM   10                   MR. MURPHY:     Objection.

          11                   THE COURT:     I'll allow it.

          12                   THE WITNESS:    They are homeboys.

          13                   MR. POHL:    I'd offer all of those, your Honor, 7

          14      through 12, yes.     8 is already in, 7, 9, 10, 11, 12.

          15      Thank you, Madam Clerk.

          16                   THE COURT:     7, 9, 10, 11, 12 are admitted.

          17                   (Exhibit No. 7, 9, 10, 11, 12 received into evidence.)

          18      Q.    Let's go back to 4 for one minute, okay.         Who is that?

          19      A.    CheChe.

12:59PM   20      Q.    When did you meet CheChe?

          21      A.    Around 2008 or maybe 2007.

          22      Q.    And tell us about how you met CheChe.

          23      A.    I met him in East Boston.

          24      Q.    And did you introduce yourself to him?

          25      A.    Yes.
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           1      Q.    All right.    And after you introduced yourself to him, how

           2      did he introduce himself to you?

           3      A.    He was a homeboy.

           4      Q.    Okay.    With what clique?

           5      A.    Eastside.

           6                   MR. NORKUNAS:    Judge, I object to that and ask that

           7      that be stricken.

           8                   THE COURT:    Overruled.

           9      Q.    Okay.    And putting up Exhibit 5, who is that?

01:00PM   10      A.    Lobo.

          11      Q.    All right.    And when -- do you remember meeting Lobo?

          12      A.    Yes.

          13      Q.    When did you meet Lobo?

          14      A.    I met him around 2013.

          15      Q.    All right.    Where did you meet him?

          16      A.    I met him after he had been jumped.

          17      Q.    Okay.    And you introduced yourself to him?

          18      A.    Yes.

          19      Q.    And when you said you met him after he had been jumped,

01:00PM   20      what clique had he been jumped into?

          21      A.    The Eastside Locos Salvatrucha.

          22                   MR. POHL:    Judge, would this be a good time to stop?

          23                   THE COURT:    Yes.   All right.   Ladies and gentlemen,

          24      we're going to stop for the day.        Tomorrow is the day that

          25      we're going to start at 9:30.        We'll still go to one.        My plan
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           1      is, unless someone needs a break, to try to break whatever the

           2      mid-point is of that, 11:15, somewhere in there and go to 1:00

           3      to have a normal day, and hopefully it will be about as long as

           4      a regular day.

           5                 So again, please remember my caution not to discuss

           6      the case among yourselves or with anyone else and not to pay

           7      any attention to any media reports if there are any, and I'll

           8      see you tomorrow morning at 9:30.

           9                 THE CLERK:    All rise.

          10                 (JURORS EXITED THE COURTROOM.)

          11                 THE COURT:    I don't know whether I'll have time to

          12      meet you before trial tomorrow, but if I could ask you to all

          13      be here about 9:15 or so, I may or may not be able to do it,

          14      I'd like having any opportunity to see if there's any issues we

          15      need to discuss, and is there anything we need to take up now?

          16                 MR. LOPEZ:    Your Honor, this morning there was some

          17      problem with the defendants getting dressed and coming here for

          18      the 8:30 time with you.      I don't know what the mix-up was, but

          19      they were here very early.       For some reason, they weren't

01:03PM   20      brought up, and my client just wanted me to bring to your

          21      attention he prefers to be present at those.

          22                 THE COURT:    Yes, and I would prefer him to be present

          23      as well.    Sometimes the van is late, sometimes there are

          24      logistical issues, you know, it's hard to make this perfect,

          25      but I would like the defendants here in civilian clothing at
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 1      8:30, if at all possible.

 2                 MR. LOPEZ:    I believe he arrived about 6:30 this

 3      morning.

 4                 THE COURT:    And I'll ask the marshals and CSOs and

 5      whoever is in charge of that to try and make that happen.          I do

 6      understand sometimes it doesn't all fall into place.

 7                 MR. LOPEZ:    Thank you, your Honor.

 8                 THE COURT:    All right.    Thank you.

 9                 THE CLERK:    All rise.

10                 (Whereupon, the hearing was adjourned at 1:03 p.m.)

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 1                               C E R T I F I C A T E

 2

 3      UNITED STATES DISTRICT COURT )

 4      DISTRICT OF MASSACHUSETTS ) ss.

 5      CITY OF BOSTON )

 6

 7                  I do hereby certify that the foregoing transcript was

 8      recorded by me stenographically at the time and place aforesaid

 9      in Criminal Action No. 15-10338-FDS, UNITED STATES vs. HERZZON

10      SANDOVAL, et al., and thereafter by me reduced to typewriting

11      and is a true and accurate record of the proceedings.

12                  Dated this 7th day of June, 2018.

13                                  s/s Valerie A. O'Hara

14                                  _________________________

15                                   VALERIE A. O'HARA

16                                   OFFICIAL COURT REPORTER

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